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                    FOR THE DISTRICT OF NEW JERSEY
                          TRENTON VICINAGE


 NOVARTIS PHARMACEUTICALS
 CORPORATION,                             Case No. 3:23-cv-14221-ZNQ-DEA

                         Plaintiff,
                                          DEFENDANTS’ COMBINED
            v.                            MEMORANDUM OF LAW IN
                                          OPPOSITION TO PLAINTIFF’S
 XAVIER BECERRA, in his official          MOTION FOR SUMMARY
 capacity as Secretary of the             JUDGMENT AND IN SUPPORT
 Department of Health and Human           OF DEFENDANTS’ CROSS-
 Services, et al.,                        MOTION FOR SUMMARY
                                          JUDGMENT
                         Defendants.
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                                   INTRODUCTION

        For more than 30 years, Congress has imposed limits on how much federal
 agencies pay for prescription drugs. Manufacturers that wish to sell their drugs to the
 Department of Defense and the Department of Veterans Affairs do so at statutorily
 defined ceiling prices, and both agencies have authority to negotiate prices further
 below those ceilings. See 38 U.S.C. § 8126(a)–(h). Building on this model in the
 Inflation Reduction Act (IRA) of 2022, Pub. L. No. 117-169, Congress granted the
 Secretary of Health and Human Services similar authority to negotiate how much
 Medicare will pay for pharmaceutical products that lack generic (or biosimilar)
 competition and account for a disproportionate share of Medicare’s expense. See 42
 U.S.C. § 1320f(a) (establishing the “Drug Price Negotiation Program”); id. § 1320f-1(b),
 (d), (e) (specifying which drugs are eligible for negotiation). For the first time, Medicare
 will be able to decide how much it is willing to pay for certain prescription drugs it
 covers—just as it has long determined how much it will reimburse doctors, hospitals,
 and other providers for medical services provided to Medicare beneficiaries.
        Unsurprisingly, drug manufacturers—which have long profited from
 unrestricted growth in Medicare’s prescription drug payments—lobbied hard against
 legislative efforts to introduce market discipline by giving the Secretary a seat at the
 negotiating table. And now that their lobbying failed, pharmaceutical companies and
 interest groups have repackaged their policy disagreements as lawsuits, filing complaints
 around the country challenging the statute on its face. This lawsuit, brought by Plaintiff
 Novartis Pharmaceuticals Corporation, largely rehashes the same legal theories offered
 by the other manufacturers. And it fails for the same reasons as the others.

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          As another district court recently recognized, Congress’s authorization for the
 Secretary to negotiate Medicare prices “cannot be considered a constitutional violation”
 because drug manufacturers “are not legally compelled to participate in the
 [Negotiation] Program . . . or in Medicare generally.” Dayton Area Chamber of Com. v.
 Becerra, No. 3:23-cv-156, — F. Supp. 3d —, 2023 WL 6378423, at *11 (S.D. Ohio Sept.
 29, 2023) (Chamber). “[P]harmaceutical manufacturers who do not wish to” make their
 drugs available at negotiated prices can “opt out” by, for example, withdrawing from
 the Medicare and Medicaid markets or by divesting their interests in the drugs subject
 to negotiation before 2026, when any negotiated prices would first take effect. Id. The
 Negotiation Program—like Medicare more broadly—is thus “a completely voluntary”
 undertaking. Id. So while Plaintiff may be dissatisfied with the conditions Congress
 imposed on future Medicare spending, Plaintiff is neither compelled to surrender any
 property in violation of the Fifth Amendment nor required to speak in violation of the
 First.
          Plaintiff’s constitutional arguments fail in other respects, too. The company’s
 theory that the Negotiation Program effects a “physical” taking of its property is
 untenable under the very Supreme Court cases that Plaintiff invokes. Pl.’s Mem. in
 Supp. of Mot. for Summ. J. at 1, ECF No. 18 (Pl.’s Br.) (emphasis added). Those cases
 emphasize “the settled difference in [the Supreme Court’s] takings jurisprudence
 between” the government taking physical control of property and merely regulating its
 sale. Horne v. Dep’t of Agric., 576 U.S. 350, 362 (2015). But the IRA does not authorize
 the government to requisition a manufacturer’s drugs or other property. Nor does the



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 IRA require a manufacturer to relinquish any drug it does not wish to sell. Plaintiff’s
 physical-taking theory—the only taking theory it posits—therefore fails outright.
       Similar errors infect Plaintiff’s First Amendment arguments. Contrary to
 Plaintiff’s assertions, neither the agreements that manufacturers have already signed
 with the Centers for Medicare & Medicaid Services (CMS) nor any other component of
 the Negotiation Program requires a manufacturer to adopt any government message.
 Indeed, those agreements do not require manufacturers to express any views at all.
 Those instruments are purely commercial arrangements that pertain solely to the prices
 at which manufacturers may choose to sell selected drugs to Medicare beneficiaries,
 using statutory language that ensures the signatories share a common understanding of
 the agreements’ terms. And Plaintiff’s unfounded fears about how those agreements
 might be perceived by the public do not justify abrogating decades of First Amendment
 case law in favor of a new—and limitless—presumption of First Amendment
 expression in every commercial act.
       As to Plaintiff’s Eighth Amendment challenge to the IRA’s excise tax, the Court
 should dismiss that claim for lack of subject-matter jurisdiction. The claim is not
 redressable—and Plaintiff therefore lacks Article III standing—because no defendant
 in this lawsuit is empowered to enforce the tax that Plaintiff seeks to enjoin and have
 declared unconstitutional. Plaintiff’s claim is also barred by the Anti-Injunction Act
 (AIA), 26 U.S.C. § 7421(a), which prohibits any “suit for the purpose of restraining the
 assessment or collection of any tax,” and by the tax exception to the Declaratory
 Judgment Act (DJA), 28 U.S.C. § 2201(a), which prohibits issuance of declaratory
 judgments “with respect to Federal taxes.” For both AIA and DJA purposes, a “tax”

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 is an exaction that Congress has labeled as such, and Congress has unambiguously
 described the section 5000D excise tax as a “tax.” Because Plaintiff asks this Court to
 preemptively enjoin that tax and declare it unconstitutional, the tax claim must be
 dismissed for lack of subject-matter jurisdiction.
        The tax claim would also fail on the merits. The excise tax does not violate the
 Eighth Amendment because it is neither a “fine” nor “excessive.” Neither the Supreme
 Court nor, to Defendants’ knowledge, any other court has ever held that a tax—let
 alone one that, like the one here, lacks any connection to a criminal offense—was a fine
 for Excessive Fines Clause purposes. And even if the tax were deemed a fine, it would
 not be a grossly disproportionate one, as the excise tax is proportional to the harm to
 the fisc and within the range of other constitutionally permissible exactions.
        In creating the Negotiation Program, Congress exercised its constitutional
 prerogative to ensure that federal funds are spent according to its view of the “general
 Welfare.” U.S. Const. art. I, § 8, cl. 1. Plaintiff’s objections to that program are no
 more than “a dispute with the policy choices” made by Congress masquerading as
 constitutional theory. Franklin Mem’l Hosp. v. Harvey, 575 F.3d 121, 130 (1st Cir. 2009).
 Rather than arguing against established precedent, the “better course of action is to seek
 redress through the . . . political process.” Id. Plaintiff is not entitled to judicial relief.

                                     BACKGROUND
 I.     Medicare and the IRA’s Drug Negotiation Program

        A. Medicare is a federal program that pays for covered healthcare services of
 qualified beneficiaries as well as for prescription drugs. See generally 42 U.S.C. §§ 1395 et
 seq. The Medicare statute encompasses several “Parts,” which set forth the terms by

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 which Medicare will pay for benefits. See Ne. Hosp. Corp. v. Sebelius, 657 F.3d 1, 2 (D.C.
 Cir. 2011). “Traditional Medicare comprises Part A, which covers medical services
 furnished by hospitals and other institutional care providers, and Part B, which covers
 outpatient care like physician and laboratory services,” as well as the cost of drugs
 administered as part of that care. Cares Cmty. Health v. HHS, 944 F.3d 950, 953 (D.C.
 Cir. 2019) (internal quotation marks omitted). In 2003, Congress added Medicare Part
 D, which provides “a voluntary prescription drug benefit program that subsidizes the
 cost of prescription drugs and prescription drug insurance premiums for Medicare
 enrollees.” U.S. ex rel. Spay v. CVS Caremark Corp., 875 F.3d 746, 749 (3d Cir. 2017); see
 42 U.S.C. §§ 1395w-101 et seq. Prior to the IRA, Congress had not granted the Secretary
 of Health and Human Services (HHS) authority to negotiate directly with drug
 manufacturers for the costs of covered medications under Medicare. To the contrary,
 Congress barred the Secretary from negotiating drug prices under Part D or otherwise
 interfering in the commercial arrangements between manufacturers and the private
 insurance plans that, in turn, enter into agreements with Medicare to provide benefits.
 See 42 U.S.C. § 1395w-111(i).
       Although this model was relatively economical at first, it has contributed to
 rapidly rising costs to Medicare in recent years. Medicare Part D spending has doubled
 over the last decade, and it “is projected to increase faster than any other category of
 health spending.” S. Rep. No. 116-120, at 4 (2019); see also Cong. Budget Off.,
 Prescription Drugs: Spending, Use, and Prices 16 (Jan. 2022), https://perma.cc/9WPC-
 VLFC. Much of that increase is attributable to a “relatively small number of drugs [that]
 are responsible for a disproportionately large share of Medicare costs.” H.R. Rep. No.

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 116-324, pt. II, at 37 (2019). Generic competitors face many legal and practical
 obstacles to market entry, sometimes leaving only a single manufacturer of a particular
 drug on the market for extended periods of time. See Staff of H. Comm. on Oversight
 & Reform, Drug Pricing Investigation: AbbVie – Humira and Imbruvica 36 (May 2021),
 https://perma.cc/9L42-VRBK. And the payment formula for drugs covered under
 Part B permits a manufacturer of a drug without generic competition to “effectively
 set[] its own Medicare payment rate.” Medicare Payment Advisory Comm’n, Report to
 the Congress: Medicare and the Health Care Delivery System 84 (June 2020),
 https://perma.cc/5X4R-KCHC. The result has been a shift of financial burden to the
 Medicare program, which undermines the program’s premise of using market
 competition to reduce prices for beneficiaries and taxpayers. Id. at 120. Because of
 how cost-sharing and premiums function under the Part B and Part D programs, high
 drug costs also increase out-of-pocket payments by Medicare beneficiaries.
       B. The IRA seeks to address these concerns. Inflation Reduction Act of 2022,
 Pub. L. No. 117-169, §§ 11001–11003, 136 Stat. 1818 (codified at 42 U.S.C. §§ 1320f–
 1320f-7 and 26 U.S.C. § 5000D). As relevant here, the IRA requires the Secretary,
 acting through CMS, to establish the Negotiation Program, through which he will
 negotiate the prices Medicare pays for certain covered drugs: those that have the highest
 Medicare Parts B and D expenditures and no generic or biosimilar competitors and that
 have been marketable for at least 7 years (i.e., drugs that have long enjoyed little market
 competition). See 42 U.S.C. §§ 1320f et seq. The Negotiation Program applies only to
 the prices Medicare pays for drugs that it covers; the statute regulates neither the prices



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 manufacturers may charge for drugs generally nor the conduct of manufacturers that
 do not participate in Medicare or Medicaid. See, e.g., id. § 1320f-1(b), (d).
       To carry out the Negotiation Program, the statute requires CMS to first identify
 a set of negotiation-eligible drugs; the agency is then to select up to 10 such drugs for
 negotiation for price applicability year 2026, up to 15 for price applicability years 2027
 and 2028, and up to 20 for price applicability year 2029 and subsequent years. Id.
 § 1320f-1(a)–(b). After selecting the drugs, CMS is directed to negotiate with the
 manufacturer of each selected drug in an effort to reach agreement on a “maximum fair
 price” for that drug. Id. § 1320f-3. Congress required CMS to consider numerous
 categories of information when formulating offers during the course of those
 negotiations, including (1) “[r]esearch and development costs of the manufacturer for
 the drug and the extent to which the manufacturer has recouped” those costs,
 (2) current “costs of production and distribution,” (3) prior “Federal financial support
 for . . . discovery and development with respect to the drug,” and (4) evidence about
 alternative treatments. Id. § 1320f-3(e). In hopes of achieving meaningful savings to
 the American people, Congress imposed a “ceiling for [the] maximum fair price,” which
 it tied to specified pricing data for the selected drugs. Id. § 1320f-3(c). But Congress
 also directed CMS to “aim[] to achieve the lowest maximum fair price” that it can
 persuade manufacturers to accept. Id. § 1320f-3(b)(1).
       CMS will sign agreements to negotiate prices for selected drugs with willing
 manufacturers. Id. § 1320f-2. If those negotiations prove successful, a manufacturer
 will then sign an addendum agreement to provide Medicare beneficiaries access to the
 negotiated price for the drug. Id. A manufacturer that does not wish to sign such an

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 agreement—or to otherwise participate in the Negotiation Program—has several
 options. It can continue selling its drugs to be dispensed or furnished to Medicare
 beneficiaries at non-negotiated prices and pay an excise tax on those sales. 26 U.S.C.
 § 5000D. It can continue selling its other drugs to Medicare but transfer its interest in
 the selected drug to another entity, which can then make its own choices about
 negotiations. See CMS, Medicare Drug Price Negotiation Program: Revised Guidance 131–32
 (June 30, 2023), https://perma.cc/K6QB-C3MM (Revised Guidance). Or it can
 withdraw from the Medicare and Medicaid programs—in which case it will incur no
 excise tax and no other liability. See id. at 33–34, 120–21, 129–31; see also Pub. L. No.
 117-169, § 11003 (enacting 26 U.S.C. § 5000D(c)(1)).
       These conditions parallel those that Congress has long attached to other
 government healthcare programs. For example, Congress has long required that any
 drug manufacturer wishing to participate in Medicaid enter into agreements with the
 Secretary of Veterans Affairs (VA)—agreements that give the VA, the Department of
 Defense, the Public Health Service, and the Coast Guard the option to purchase drugs
 at negotiated prices at or below statutory ceilings. See 38 U.S.C. § 8126(a)–(h). Like
 those statutory provisions, the Negotiation Program thus gives manufacturers a choice:
 they can sell their products at prices the government is willing to pay, or they can take
 their business elsewhere.
 II.   Implementation of the Negotiation Program

       Although the IRA provides a wealth of criteria and detail regarding the selection
 of drugs, the negotiation process, and the requirements of any agreement, Congress
 also recognized that implementing a new program of such complexity would require

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 numerous operational decisions within the new statutory framework. Accordingly,
 Congress directed CMS to implement the Negotiation Program through “program
 instruction or other forms of program guidance” through 2028. Pub. L. No. 117-169,
 § 11001(c). Following that statutory mandate, CMS issued initial guidance on March
 15, 2023, explaining how it intended to implement certain aspects of the statute and
 soliciting public input.   See CMS, Medicare Drug Price Negotiation Program: Initial
 Memorandum (Mar. 15, 2023), https://perma.cc/8X4K-CVD8. After considering more
 than 7,500 public comments “representing a wide range of views,” CMS published the
 Revised Guidance on June 30, 2023. Revised Guidance at 1–2.
       The Revised Guidance describes several aspects of the Negotiation Program for
 initial price applicability year 2026, including information about (1) the methodologies
 by which CMS selected drugs for negotiation; (2) the negotiation process, including the
 types of data that CMS will consider, the procedures for exchanges of offers and
 counteroffers, and the public explanations CMS will provide for negotiated prices; and
 (3) the procedures for manufacturers to follow if they decide at any point not to
 participate. Id. at 2–8. On that last point, the Revised Guidance expressly provides that
 if a manufacturer “decides not to participate in the Negotiation Program,” CMS will
 “facilitate an expeditious termination of” the manufacturer’s Medicare agreements
 before the manufacturer would incur liability for any excise tax, so long as the
 manufacturer notifies CMS of its desire to withdraw at least 30 days in advance of when
 that tax would otherwise begin to accrue. Id. at 33–34. The guidance also notes that
 manufacturers that wish to remain in the Medicare and Medicaid programs but do not
 wish to negotiate can divest their interest in the selected drug(s). Id. at 131–32.

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       The Treasury Department and the Internal Revenue Service (IRS) have issued a
 separate notice outlining how they interpret the IRA’s excise-tax provision. See IRS
 Notice No. 2023-52, 2023-35 I.R.B. 650 (Aug. 4, 2023), https://perma.cc/B9JZ-ZG7P
 (IRS Notice). As that notice explains, Treasury intends to propose regulations
 specifying that the tax provided for in 26 U.S.C. § 5000D would be imposed on the
 manufacturer’s “sales of designated drugs dispensed, furnished, or administered to
 individuals under the terms of Medicare”—i.e., only those drugs dispensed, furnished, or
 administered to Medicare beneficiaries. Id. § 3.01 (emphasis added). The notice further
 provides that, consistent with Treasury’s pre-existing regulations applicable to certain
 other excise taxes, “[w]hen no separate charge is made as to the § 5000D tax on the
 invoice or records pertaining to the sale of a designated drug, it will be presumed that
 the amount charged for the designated drug includes the proper amount of § 5000D
 tax and the price of the designated drug.” Id. § 3.02.
       Treasury’s notice confirms that, “if a manufacturer charges a purchaser $100 for
 a designated drug during the first 90 days in a statutory period and does not make a
 separate charge for the § 5000D tax, $65 is allocated to the § 5000D tax and $35 is
 allocated to the price of the designated drug.” Id. Accordingly, after 271 days, $95 is
 allocated to the section 5000D tax and $5 is allocated to the price of the designated
 drug. Thus, the maximum ratio of the tax to the total amount the manufacturer charges
 for a drug is 95% (not 1900%). 1 This interpretation is effective immediately; as the



 1
  This result flows from the statutory formula for the tax amount specified in 26 U.S.C.
 § 5000D(a), (d).

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 notice explains, “[u]ntil the Treasury Department and the IRS issue further guidance,
 taxpayers may rely on” the interpretation the agency has articulated. Id. § 4.
        The primary manufacturers of all 10 selected drugs for the first negotiation cycle,
 including Plaintiff, have now executed agreements to negotiate. See CMS, Manufacturer
 Agreements for Selected Drugs for Initial Price Applicability Year 2026 (Oct. 3, 2023),
 https://perma.cc/7R6M-ENEP. Under the schedule set by Congress, negotiations are
 to conclude by August 1, 2024. 42 U.S.C. §§ 1320f(b), (d), 1320f-2(a), 1320f-3(b); see
 Revised Guidance at 91–92 (statutory timetable). Any agreed-upon prices for the
 selected drugs will take effect on January 1, 2026, about two years from now. 42 U.S.C.
 §§ 1320f(b), 1320f-2(a); Revised Guidance at 92.
 III.   Related Litigation

        Prior to the deadline to execute negotiation agreements with CMS, drug
 manufacturers and interest groups filed multiple suits across the country challenging
 the constitutionality of the Negotiation Program. See Merck & Co. v. Becerra, No. 1:23-
 cv-1615 (D.D.C. filed June 6, 2023); Dayton Area Chamber of Com. v. Becerra, No. 3:23-cv-
 156 (S.D. Ohio filed June 9, 2023); Nat’l Infusion Ctr. Ass’n v. Becerra, No. 1:23-cv-707
 (W.D. Tex. filed June 21, 2023); Bristol Myers Squibb Co. v. Becerra, No. 3:23-cv-3335
 (D.N.J. filed June 16, 2023); Janssen Pharms., Inc. v. Becerra, No. 3:23-cv-3818 (D.N.J. filed
 July 18, 2023); Boehringer Ingelheim Pharms., Inc. v. HHS, No. 3:23-1103 (D. Conn. filed
 Aug. 18, 2023); AstraZeneca Pharms. LP v. Becerra, No. 1:23-cv-931 (D. Del. filed Aug.
 25, 2023); Novo Nordisk Inc. v. Becerra, No. 3:23-cv-20814 (D.N.J. filed Sept. 29, 2023).
        The plaintiffs in one such case—brought by the U.S. Chamber of Commerce
 and its local affiliates—sought a preliminary injunction “to prevent the implementation

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 of [the] Program.” Chamber, 2023 WL 6378423, at * 1. In doing so, the plaintiffs argued
 that the Negotiation Program was akin to utility regulations and would “yield
 confiscatory rates” in violation of the Fifth Amendment’s Due Process Clause. Id. at
 *11. The court disagreed. Those claims failed “as a matter of law,” the court concluded,
 because manufacturers are “not legally compelled to participate in the [Negotiation]
 Program.” Id. As a result, the “Program’s eventual ‘maximum fair price’ cannot be
 considered confiscatory because pharmaceutical manufacturers who do not wish to
 participate in the Program have the ability—practical or not—to opt out.” Id. The
 court thus denied the plaintiffs’ motion. Id. at *14. The plaintiffs did not appeal that
 decision.

                                       ARGUMENT
 I.     The Negotiation Program Is Not a Taking Because Participation Is
        Voluntary

        Plaintiff’s Takings Clause challenge follows a familiar playbook. Hospitals,
 nursing homes, and other providers have, for decades, raised similar arguments against
 other limits on Medicare reimbursements—and courts have, for decades, rejected such
 claims. See, e.g., Baker Cnty. Med. Servs., Inc. v. U.S. Att’y Gen., 763 F.3d 1274, 1276, 1279–
 80 (11th Cir. 2014) (collecting cases); Garelick v. Sullivan, 987 F.2d 913, 916 (2d Cir.
 1993). The “law established” in those cases “is clear”: because “participation in
 Medicare, no matter how vital it may be to a business model, is a completely voluntary
 choice,” “the consequences of that participation cannot be considered a constitutional
 violation.” Chamber, 2023 WL 6378423, at *11. And this principle, as the Chamber court
 correctly held, applies equally to the Negotiation Program. Id.


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       Neither the IRA nor any other part of Medicare “legally compel[s]”
 manufacturers to negotiate with CMS or to sell their drugs to Medicare beneficiaries.
 Id. “[P]harmaceutical manufacturers who do not wish to participate in the Program
 have the ability . . . to opt out” in several ways. Id. Like other Medicare reimbursement
 limits, the voluntary Negotiation Program thus reflects a valid exercise of Congress’s
 constitutional authority to control the government’s spending as a market participant—
 and raises no Takings Clause concerns.
       A. The Negotiation Program does not compel participation

       The Takings Clause of the Fifth Amendment prohibits the taking of private
 property for public use without just compensation. U.S. Const. amend. V. But it is
 well established that a “property owner must be legally compelled to engage in price-
 regulated activity for regulations to” impugn a property interest that the Fifth
 Amendment protects. Garelick, 987 F.2d at 916 (emphasis added); see, e.g., Bowles v.
 Willingham, 321 U.S. 503, 517–18 (1944) (rent controls do not constitute prohibited
 taking because statute did not require landlords to offer their apartments for rent).
 When an entity “voluntarily participates in a price-regulated program or activity, there
 is no legal compulsion to provide service and thus there can be no” deprivation of
 property. Garelick, 987 F.2d at 916 (collecting cases); see Franklin Mem’l Hosp., 575 F.3d
 at 129 (“Of course, where a property owner voluntarily participates in a regulated
 program, there can be no unconstitutional taking.”). And that is the case with limits on
 Medicare spending, like the kind Congress sought to achieve with the Negotiation
 Program. See Chamber, 2023 WL 6378423, at *11.



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        As courts have repeatedly explained, “participation in the Medicare program is a
 voluntary undertaking.” Livingston Care Ctr., Inc. v. United States, 934 F.2d 719, 720 (6th
 Cir. 1991); see Baptist Hosp. E. v. Sec’y of HHS, 802 F.2d 860, 869–70 (6th Cir. 1986);
 Baker Cnty., 763 F.3d at 1279–80; Garelick, 987 F.2d at 917; see generally Chamber, 2023
 WL 6378423, at *11 (discussing this precedent). Unlike public utilities, which “generally
 are compelled” by statute “to employ their property to provide services to the public,”
 no statutory provision requires entities to participate in Medicare or to sell their property.
 Garelick, 987 F.2d at 916. So, whether confronting regulations limiting physician fees,
 nursing-home payments, or hospital reimbursements, courts have been unequivocal:
 entities are not required to serve Medicare beneficiaries, and thus the government
 deprives them of no property interest for purposes of the Fifth Amendment when it
 imposes caps on the amount the government will reimburse. Baptist Hosp., 802 F.2d at
 869–70; see also Se. Ark. Hospice, Inc. v. Burwell, 815 F.3d 448, 450 (8th Cir. 2016) (no
 taking because plaintiff “voluntarily chose to participate in the Medicare hospice
 program”); Baker Cnty., 763 F.3d at 1279–80 (rejecting hospital’s “challenge [to] its rate
 of compensation in a regulated industry for an obligation it voluntarily undertook . . .
 when it opted into Medicare”); Franklin Mem’l Hosp., 575 F.3d at 129–30; Garelick, 987
 F.2d at 916–19; Burditt v. HHS, 934 F.2d 1362, 1376 (5th Cir. 1991); Whitney v. Heckler,
 780 F.2d 963, 972 (11th Cir. 1986). If a provider dislikes the conditions offered by the
 government, it can simply withdraw from the program. Baptist Hosp., 802 F.2d at 869–
 70. There is no legal compulsion to participate.
        The Negotiation Program is no different. See Chamber, 2023 WL 6378423, at *11.
 The IRA regulates neither the prices manufacturers may charge for drugs generally nor

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 the conduct of manufacturers that elect not to participate in Medicare and Medicaid.
 See, e.g., 42 U.S.C. § 1320f-1(b), (d). Rather, Congress established the Negotiation
 Program in an effort to reduce how much Medicare pays for selected drugs provided
 to Medicare beneficiaries. See id. § 1320f-2(a)(2). As CMS noted, “the IRA expressly
 connects a . . . [m]anufacturer’s financial responsibilities under the voluntary
 Negotiation Program to that manufacturer’s voluntary participation” in Medicare and
 Medicaid. Revised Guidance at 120; see also 26 U.S.C. § 5000D(c)(1) (providing that tax
 consequences apply only if the manufacturer continues to participate in Medicare and
 Medicaid). Drug manufacturers that do not wish to make their drugs available to
 Medicare beneficiaries at negotiated prices can avoid doing so by withdrawing from the
 Medicare and Medicaid programs. See Chamber, 2023 WL 6378423, at *11; see also
 Revised Guidance at 33–34, 120–21, 129–31. 2 Alternatively, a manufacturer can divest
 its interest in the selected drug to a separate entity—or otherwise stop selling it to
 Medicare beneficiaries, either permanently or temporarily. Revised Guidance at 131–
 32.
       Thus, contrary to Plaintiff’s claims, manufacturers “are not legally compelled to
 participate in the Program,” nor forced to make sales they don’t want to make. Chamber,
 2023 WL 6378423, at *11. Unlike laws requiring utilities to serve the public, the IRA
 does not “compel[] [manufacturers] to employ their property to provide [drugs] to”
 Medicare beneficiaries—at any price. Garelick, 987 F.2d at 916. Rather, a manufacturer

 2
   Recognizing the viability of this option, some manufacturers previously stated that
 they might do so. See Zachary Brennan, IRA side effect: Pharma companies will increasingly
 skip Medicare altogether, Lilly CEO says, Endpoint News (June 14, 2023),
 https://perma.cc/ZWJ4-6EXF.

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 of a selected drug is required to provide “access” to negotiated prices only if it chooses to
 participate in Medicare and make its drugs available for Medicare coverage. As courts
 have explained in rejecting Fifth Amendment challenges to other Medicare conditions,
 “[i]f any provider fears that its participation [in the program] will drive it to insolvency,
 it may withdraw from participation.” Baptist Hosp., 802 F.2d at 869–70. That choice is
 the manufacturer’s to make.
        B. Manufacturers have adequate opportunity to withdraw from the
           program

        Attempting to evade this settled precedent, Plaintiff suggests that the IRA makes
 it impossible for manufacturers to avoid providing Medicare beneficiaries access to the
 selected drug without incurring a sizeable tax or a penalty. Pl.’s Br. at 15–16. Plaintiff
 has not indicated that it wishes to withdraw from the Negotiation Program or from
 Medicare and Medicaid; to the contrary, it has signed an agreement to negotiate. See
 Manufacturer Agreements at 1; Pl.’s Ex. E, ECF No. 18-7.                So the company’s
 complaints about the process for withdrawal are purely academic. But regardless, these
 arguments fail because Plaintiff misunderstands the IRA’s terms.
        Section 11003 of the IRA provides that manufacturers will incur no tax if they
 cease participating in Medicare and Medicaid prior to the statutory deadline to enter
 into an agreement to negotiate—or, if they have initially agreed to negotiate (as Plaintiff
 has), prior to the statutory deadline to enter into a final pricing agreement with CMS.
 See 26 U.S.C. § 5000D(b)(1)–(2) (defining periods when tax would take effect); id.
 § 5000D(c)(1)(A)(i)–(ii) (providing that the excise tax will be suspended “beginning on
 the first date on which” “none of the drugs of the manufacturer” are covered by


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 Medicare). 3 The Social Security Act (SSA) provides that the relevant Medicare-
 participation agreements can be terminated by CMS in 30 days for “good cause.” See
 42 U.S.C. §§ 1395w-114a(b)(4)(B)(i), 1395w-114c(b)(4)(B)(i).           Relying on these
 provisions, the Revised Guidance explains that if a “[m]anufacturer determines . . . that
 it is unwilling to continue its participation in the Negotiation Program and provides a
 termination notice,” CMS will treat that determination as providing “good cause to
 terminate the . . . Manufacturer’s agreement(s) . . . and thus facilitate an expedited”
 termination in 30 days. Revised Guidance at 130. As a result, “any manufacturer that
 declines to enter an Agreement for the Negotiation Program may avoid incurring excise
 tax liability by submitting the notice and termination requests . . . 30 days in advance of
 the date that excise tax liability otherwise may begin to accrue.” Id. at 33–34.
        That timeline provides manufacturers flexibility to “opt out” of the Negotiation
 Program. Chamber, 2023 WL 6378423, at *11. Manufacturers of the first 10 selected
 drugs had 34 days to decide whether they wanted to negotiate with CMS before any tax
 liability (for selling the drug to Medicare without signing an agreement to negotiate)
 could be triggered. See 42 U.S.C. § 1320f(d)(1) (requiring first list of drugs for
 negotiation to be published by September 1, 2023); 4 26 U.S.C. § 5000D(b)(1) (tax
 triggered on October 2, 2023, absent manufacturer signing agreement to negotiate).
 Plaintiff, along with the manufacturers of all the other selected drugs, signed an
 agreement to negotiate. See Manufacturer Agreements at 1. Manufacturers will know

 3
   Section 5000D(c) also conditions suspension of the tax on a manufacturer giving
 notice of termination of its drug rebate agreement under Medicaid. 26 U.S.C.
 § 5000D(c)(2).
 4
   The list was published early, on August 29, 2023.

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 how those negotiations are going far in advance of August 2, 2024, when they could
 first be exposed to tax liability if they have not signed a final price agreement. See 26
 U.S.C. § 5000D(b)(2). And if a manufacturer signs a final price agreement before the
 statutory deadline, there will still be at least 17 months before January 1, 2026, when any
 negotiated prices would first take effect—and any civil penalty (but no tax) could even
 possibly be triggered. 42 U.S.C. § 1320f-6(a) (providing for civil monetary penalties for
 failing to honor agreement). During this period, the manufacturer can (with 30 days’
 notice) withdraw from Medicare and Medicaid or divest its interest in the selected drug.
 Revised Guidance at 129–32. In this way, a “manufacturer that has entered into an
 Agreement . . . retain[s] the ability to promptly withdraw from the program prior to the
 imposition of civil monetary penalties or excise tax liability.” Id. at 34.
        Plaintiff fails to grapple with these various options. Compare, e.g., Pl.’s Br. at 14
 n.3 (contending that “the only way a manufacturer could avoid having its own selected
 drug dispensed to Medicare beneficiaries would be to divest its interests in the drug”),
 with id. at 18 (appearing to concede that it could “avoid the [Negotiation Program] by
 withdrawing from Medicare”). Even putting aside CMS’s guidance, Plaintiff overlooks
 the 28-month period between a drug’s selection and the January 2026 effective date for
 any negotiated prices. This delay gives a manufacturer ample time to notice its
 termination of the relevant Medicare agreements (something it could do even while
 otherwise engaged in negotiations) and have that termination take effect. See 42 U.S.C.
 § 1395w-114a(b)(4)(B)(ii) (a “manufacturer may terminate an agreement under this
 section for any reason,” and “if the termination occurs before January 30 of a plan year”
 it shall become effective “as of the day after the end of the plan year”).

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        Plaintiff separately complains that withdrawing from Medicare is “onerous”
 because it would prove financially ruinous for Plaintiff and would leave Medicare
 beneficiaries without much-needed drug products. Pl.’s Br. at 20–21. But courts have,
 for decades, held that economic or other practical “hardship is not equivalent to legal
 compulsion for purposes of [a] takings analysis.” Garelick, 987 F.2d at 917; see also St.
 Francis Hosp. Ctr. v. Heckler, 714 F.2d 872, 875 (7th Cir. 1983) (the “fact that practicalities
 may in some cases dictate participation does not make participation involuntary”).
 Even where “business realities” create “strong financial inducement to participate”—
 such as, for example, when Medicaid provides the vast majority of a nursing home’s
 revenue—courts have emphasized that the decision to participate in the program “is
 nonetheless voluntary.” Minn. Ass’n of Health Care Facilities, Inc. v. Minn. Dep’t of Pub.
 Welfare, 742 F.2d 442, 446 (8th Cir. 1984).             This precedent makes clear that
 “participation in Medicare, no matter how vital it may be to a business model, is a
 completely voluntary choice.” Chamber, 2023 WL 6378423, at *11 (collecting cases); see
 Baker Cnty., 763 F.3d at 1280. And, to the extent that the government likewise has an
 interest in manufacturers continuing to participate in Medicare, Pl.’s Br. at 21, that only
 confirms that manufacturers have leverage in negotiating prices with CMS. Just as
 defense contractors that derive a substantial portion of their revenues from the
 Department of Defense are free to refuse contracts they find unprofitable and to
 leverage the importance of their products to the government to drive a better bargain,
 drug manufacturers can walk away from the Negotiation Program—even if doing so
 comes at a cost.



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        In short, Plaintiff is wrong to claim that Congress did not give manufacturers a
 genuine choice whether to sell their drugs to Medicare at negotiated prices. Plaintiff’s
 choice “to opt out” of the Negotiation Program is real. Chamber, 2023 WL 6378423, at
 *11.
        C. The Negotiation Program is a proper condition on voluntary
           participation in federal healthcare programs

        Plaintiff next seeks to undermine the voluntariness of the Negotiation Program
 by analogizing to inapposite cases analyzing government demands for property in the
 context of regulatory regimes. Pl.’s Br. at 22–24. Plaintiff interprets these cases to suggest
 that participation in the Negotiation Program could be voluntary only if it came in
 “exchange” for an appropriate “benefit”—something that Plaintiff insists is absent here
 because the benefit (Medicare coverage) is something they already enjoy. Id. at 23–24.
 But Plaintiff fails to grasp the difference between regulatory and spending programs, and
 it fails to appreciate that conditions that Congress attaches to the latter are subject to a
 fundamentally different form of constitutional review. In any event, the Negotiation
 Program withstands scrutiny even under Plaintiff’s erroneous analytical framework.
           1. Plaintiff incorrectly analyzes the Negotiation Program as a
              regulatory condition

        The defining feature of the cases on which Plaintiff relies is that they analyzed
 conditions that the government imposed as part of an obligatory legal framework,
 which parties could not readily avoid or exit. See generally Pl.’s Br. at 18–23. In
 Ruckelshaus v. Monsanto Co., for example, manufacturers had no choice but to surrender
 their proprietary data if they wished to sell their pesticides to private customers under



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 an environmental regulatory regime. 467 U.S. 986, 1007 (1984). The Court saw the
 surrender of property not as a taking or unconstitutional condition but rather as a
 voluntary exchange for a license to sell chemicals, because that license was not
 something the government was otherwise required to provide. See id. In Horne, raisin
 growers had to physically surrender a portion of their crop to the government as part
 of an agricultural regulatory program if they wished to grow and sell raisins on open
 markets—and, as the Court explained, “[s]elling produce in interstate commerce,
 although certainly subject to reasonable government regulation, is . . . not a special
 governmental benefit.” 576 U.S. at 366. In both circumstances, the question of
 whether the demand for property was part of an exchange for a non-illusory benefit
 (and therefore not a taking) arose only because the regulated parties could not avoid the
 government’s property demand without “ceasing to” sell their product to anyone. Id. at
 365; accord Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 439 n.17 (1982).
       Similar reasoning animated the D.C. Circuit’s decision in Valancourt Books, LLC
 v. Garland, 82 F.4th 1222, 1232 (D.C. Cir. 2023). See Pl.’s Br. at 23. There, the D.C.
 Circuit confronted a takings challenge to a provision of the Copyright Act requiring
 “the owner of the copyright in a work [to] deposit two copies of the work with the
 Library of Congress” or pay a fine. Valancourt, 82 F.4th at 1226. The panel determined
 that, under the “particular circumstances” before the court, this requirement was
 mandatory and inescapable, arising automatically upon publication of the work. Id. at
 1239. The D.C. Circuit thus concluded that the condition could not be justified as part
 of a “voluntary exchange for a governmental benefit” because “the purported ‘benefit’
 [was] illusory.” Id. at 1232. As the panel explained, “copyright owners receive[d] no

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 additional benefit for the works they forfeit[ed]” because the “[m]andatory deposit is
 not required to secure the benefits of copyright.” Id. Absent at least some benefit, the
 demand constituted a physical taking of plaintiffs’ books. Id. at 1235. 5
        This reasoning does not apply, however, when Congress acts pursuant to its
 spending powers to set terms on which the government will buy products. In this
 circumstance, the government is neither restricting entities from engaging in interstate
 commerce nor burdening their ability to sell goods to private buyers. Rather, these
 types of conditions are inherently “voluntary”—and do not compel entities to surrender
 property—because there is no “right (or requirement)” to conduct business with the
 government in the first instance. Chamber, 2023 WL 6378423, at *11; see, e.g., Shah v.
 Azar, 920 F.3d 987, 998 (5th Cir. 2019) (“[P]articipation in the federal Medicare
 reimbursement program is not a property interest.”). Unlike the raisins in Horne,
 Medicare funds are property that “belong[s] to the State,” and manufacturers have no
 right in that property “other than such as the state may permit [them] to acquire.”
 Horne, 576 U.S. at 366–67 (internal quotation marks omitted). “[N]o one has a ‘right’
 to sell to the government that which the government does not wish to buy.” Coyne-
 Delany Co. v. Cap. Dev. Bd., 616 F.2d 341, 342 (7th Cir. 1980); see also Perkins v. Lukens

 5
   The same was true in Union Pacific Railroad Co. v. Public Service Commission, 248 U.S. 67
 (1918). See Pl.’s Br. at 19. Like Monsanto and Horne, that case involved a regime that
 parties could not readily exit—so the plaintiff was involuntarily subject to the
 government’s property demands. See Union Pacific, 248 U.S. at 67 (plaintiff subject to
 statutory prohibition against issuance of a bond unless the prohibition was waived by a
 state commission). Similarly, in Tenoco Oil v. Department of Consumer Affairs., the plaintiffs
 challenged a price regulation that applied to all wholesale gasoline sales. See 876 F.2d
 1013, 1014 (1st Cir. 1989) (vacating injunction against price regulation because claims
 were “not yet ripe”); see Pl.’s Br. at 19.

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 Steel Co., 310 U.S. 113, 127 (1940) (government has authority to “determine those with
 whom it will deal”); J.H. Rutter Rex Mfg. Co. v. United States, 706 F.2d 702, 712 (5th Cir.
 1983) (rejecting government contractor’s claim for “Fifth Amendment property
 entitlement to participate in the awarding of government contracts”).
        Unsurprisingly, given this distinction between demands for property as part of a
 regulatory regime and conditions that Congress sets for participation in federal
 spending programs, courts have not employed Plaintiff’s proposed framework to
 evaluate takings challenges to Medicare or Medicaid conditions. See supra at 14
 (collecting cases). Rather, courts have rejected such challenges on the threshold ground
 that “participation in the Medicare program is a voluntary undertaking”—and have not
 further analyzed the propriety of the condition. Livingston Care Ctr., 934 F.2d at 720; see
 Chamber, 2023 WL 6378423, at *11 (discussing this precedent).
        This approach makes sense. “Unlike ordinary legislation, which imposes
 congressional policy on regulated parties involuntarily, Spending Clause legislation
 operates based on consent: in return for federal funds, the [recipients] agree to comply
 with federally imposed conditions.” Cummings v. Premier Rehab Keller, PLLC, 596 U.S.
 212, 219 (2022) (internal quotation marks omitted). “[I]f a party objects to a condition
 on the receipt of federal funding, its recourse is to decline the funds.” Agency for Int’l
 Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214 (2013). There is therefore no need
 to consider whether a party obtained a separate benefit to determine that the
 government’s conditions are part of a voluntary exchange. Contra Pl.’s Br. at 22.
        The Negotiation Program, of course, is voluntary, in the way that all Medicare
 and Medicaid conditions are—and in a way that the conditions in regulatory programs

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 like those at issue in Horne and the other cases Plaintiff cites were not.               Drug
 manufacturers’ ability to make commercial sales is not conditioned on them complying
 with the Negotiation Program. They can continue selling their drugs to everyone but
 the government and be free of the Negotiation Program’s terms. See Chamber, 2023 WL
 6378423, at *11. This raises no Fifth Amendment takings concerns because Plaintiff
 “do[es] not have a property interest in a particular reimbursement rate” from Medicare.
 Managed Pharmacy Care v. Sebelius, 716 F.3d 1235, 1252 (9th Cir. 2013); see Painter v. Shalala,
 97 F.3d 1351, 1358 (10th Cir. 1996).
            2. The Negotiation Program withstands scrutiny even under
               Plaintiff’s erroneous framing

        In any event, the Negotiation Program would still survive scrutiny under
 Plaintiff’s framing—even if it were incorrectly analyzed as part of a typical regulatory
 regime. As the D.C. Circuit observed in Valancourt, “any forfeiture of property might
 arguably be voluntary” where there is “a simple, seamless, and transparent way to opt
 out of” the regulatory regime in which the demand for property is made. 82 F.4th at
 1235. The problem in Valancourt was that no exit option was “cognizable to copyright
 owners”: “no statute, regulation, or guidance” indicated that Valancourt could
 relinquish its copyright in lieu of depositing books by, for example, “simply disavowing
 its copyrights.” Id. at 1235–36. The agency instead “implied that Valancourt was
 obligated to deposit regardless of any voluntary action it took.” Id. at 1236.
        The opposite is true here. As the Chamber court recognized, manufacturers can
 avoid the Negotiation Program’s requirements by, among other things, divesting their
 interest in the selected drug or withdrawing from Medicare and Medicaid by terminating


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 their participation agreements.       See 2023 WL 6378423, at *11.             Doing so is
 straightforward. A manufacturer need only notify CMS of its intent to withdraw from
 the relevant agreements “30 days in advance of the date that excise tax liability otherwise
 may begin to accrue.” Revised Guidance at 33–34. 6 As explained, supra at 17, this
 course is clearly described in the Revised Guidance, which relies on the authority
 provided in the SSA. See id. at 130; see generally 42 U.S.C. §§ 1395w-114a(b)(4)(B)(i),
 1395w-114c(b)(4)(B)(i). So, unlike Valancourt, manufacturers have a “cognizable”
 notice of the withdrawal options from a formal “guidance.” 82 F.4th at 1235–36. There
 is no dispute that Plaintiff is now well aware of these options and thus its ability to “opt
 out of Medicare entirely.” Chamber, 2023 WL 6378423, at *11.
        In addition to disregarding its withdrawal options, Plaintiff complains that it
 could not have anticipated the Negotiation Program when it first chose to participate
 in Medicare and Medicaid, which now account for the majority of the market in which
 Plaintiff makes its sales. See Pl.’s Br. at 24. But, as explained, “participation in Medicare,
 no matter how vital it may be to a business model, is a completely voluntary choice.”
 Chamber, 2023 WL 6378423, at *11 (collecting cases). This is true regardless of whether
 the condition is new to the program in which Plaintiff has been participating. See 42
 U.S.C. § 1304 (noting that Congress reserves the right to change Medicare terms).
 Where, as here, an exit option is available, Plaintiff’s decision not to pursue it—for
 whatever reason—is itself an indication that, going forward, Plaintiff consents to the
 condition imposed.

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  Alternatively, as explained, a manufacturer can transfer ownership of the drug. See
 Revised Guidance at 131–32.

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        Plaintiff also wrongly contends that the Negotiation Program is not a proper
 condition—i.e., one for which there can be any exchange—because not all participants
 in Medicare have drugs selected for the Program. See Pl.’s Br. at 22. As an initial matter,
 although only a certain number of drugs are selected each year, all drug manufacturers
 that choose to participate in Medicare agree to the program’s conditions, which now
 include being subject to the Negotiation Program’s selection criteria—whether or not
 they manufacture drugs that meet those criteria in any given year. See generally 42 U.S.C.
 § 1320f-1. Plaintiff does not cite any authority suggesting that a valid condition must
 produce equivalent results for all participants. Nor does Plaintiff cite any authority
 suggesting that conditions on government spending must be applied to all program
 participants to pass constitutional muster. Absent an equal-protection claim—which
 Plaintiff has not asserted here and which would plainly fail in any event—this argument
 has no legal foundation.
        Moreover, Plaintiff’s claims to the contrary notwithstanding, it is worth noting
 that manufacturers do receive “additional benefits” in exchange for their agreement to
 a negotiated price for their selected drugs. Valancourt, 82 F.4th at 1233. The IRA
 provides that, in exchange for reaching an agreement with CMS as to the maximum fair
 price for a selected drug, a manufacturer is guaranteed formulary inclusion by all
 Medicare Part D plans for that drug. 42 U.S.C. § 1395w–104(b)(3)(I)(i). Plaintiff may
 choose to accept this benefit, or it may choose to exit the Medicare and Medicaid
 programs. The choice is Plaintiff’s, and the voluntary nature of that choice defeats
 Plaintiff’s takings claim.



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           3. Plaintiff’s alternative unconstitutional-conditions argument is
              inapposite

        Many of the same reasons likewise defeat Plaintiff’s attempt to undermine the
 Negotiation Program by invoking the test articulated by the Supreme Court in Nollan v.
 California Coastal Commission and Dolan v. City of Tigard, which asks whether an exaction
 sought by the government is “rough[ly] proportiona[l]” to the benefit being sought by
 a property owner. Pl.’s Br. at 25 (quoting Dolan, 512 U.S. 374, 391 (1994)); see Nollan,
 483 U.S. 825, 834–37 (1987). Contrary to Plaintiff’s suggestion, these cases do not set
 forth a general unconstitutional-conditions framework. Rather, the Supreme Court has
 made clear that the Nollan and Dolan test is reserved for “‘special application’ of the
 doctrine to . . . land-use permits.” Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S.
 595, 604 (2013) (quoting Lingle v. Chevron USA Inc., 544 U.S. 528, 538 (2005)). That is
 for good reason: permit applicants are “especially vulnerable” to the government’s
 demands “because the government often has broad discretion to deny a permit that is
 worth far more than property it would like to take.” Koontz, 570 U.S. at 604–05.
 Determining that a land-use exaction is “proportional[]” to the governmental benefit
 thus ensures that the condition is part of a voluntary exchange. Id. at 605; see also Cedar
 Point Nursery v. Hassid, 141 S. Ct. 2063, 2079 (2021) (explaining this framework).
       No such proxy test is necessary or appropriate where Congress merely sets the
 terms on which the government will do business—business to which the party has no
 freestanding entitlement and that it can freely decline. Courts do not, for example,
 superintend government contracts to ensure that they provide contractors sufficient
 compensation or benefit to avoid a Fifth Amendment taking. See, e.g., St. Christopher



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 Assocs., L.P. v. United States, 511 F.3d 1376, 1385 (Fed. Cir. 2008) (“In general, takings
 claims do not arise under a government contract because . . . the government is acting
 in its proprietary rather than its sovereign capacity” and any right to compensation has
 “been voluntarily created” (internal quotation marks omitted)). Plaintiff may be
 unhappy that Congress created the Negotiation Program as a condition on its future
 Medicare and Medicaid participation, but that dissatisfaction does not render the
 condition constitutionally improper.
                                      *      *      *
       At bottom, Plaintiff cannot establish that the Negotiation Program is anything
 other than “completely voluntary.” Chamber, 2023 WL 6378423, at *11. And because
 “there is no legal compulsion to” participate, “there can be no” Fifth Amendment
 violation. Garelick, 987 F.2d at 916.
 II.   The Negotiation Program Is Not a Physical Taking of Plaintiff’s Drugs

       Even setting aside the voluntary nature of the Negotiation Program—and the
 settled precedent rejecting Fifth Amendment challenges to Medicare reimbursement
 caps—Plaintiff’s takings claim fails even as articulated. Plaintiff seeks to paint the
 Negotiation Program as a “classic, per se” taking—i.e., physical taking—of its actual
 products, akin to the taking of raisins in Horne. Pl.’s Br. at 12–16. But the Negotiation
 Program in no way forces manufacturers to surrender their drugs—to the government
 or to anyone else—and thus cannot be construed as a “classic” or “physical” taking.
       As the Supreme Court has explained, a “classic taking [is one] in which
 government directly appropriates private property or ousts the owner from his
 domain.” Lingle, 544 U.S. at 539. With such takings, the owners “lose the entire ‘bundle’

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 of property rights” in a way they do not through regulations. Horne, 576 U.S. at 361–
 62; see Cedar Point, 141 S. Ct. at 2074; Lingle, 544 U.S. at 539. So even where “a physical
 taking” and a “regulatory limit . . . may have the same economic impact,” a “distinction
 flows naturally from the settled difference in [the Supreme Court’s] takings
 jurisprudence between appropriation and regulation” that does not allow a court to
 equate the two. Horne, 576 U.S. at 362; see also Cedar Point, 141 S. Ct. at 2072 (“The
 essential question is . . . whether the government has physically taken property for itself
 or someone else—by whatever means—or has instead restricted a property owner’s
 ability to use his own property.”).
        Here, there is no “physical appropriation” at all. Cedar Point, 141 S. Ct. at 2074.
 Unlike the Department of Agriculture in Horne, CMS will not “sen[d] trucks to
 [Plaintiff’s] facility at eight o’clock one morning to” haul away pills. 576 U.S. at 356.
 And the IRA does not require manufacturers to provide “access” to their drugs against
 their will. Contra Pl.’s Br. at 13. Neither the formulary provision Plaintiff cites—which
 defines circumstances in which insurance plans contracting with Medicare are to
 provide coverage for the selected drugs under Part D, 42 U.S.C. § 1395w-
 104(b)(3)(I) 7—nor anything else in the IRA requires manufacturers to make sales in the
 first instance. Contra Pl.’s Br. at 14.
        What the IRA provides, instead, is that a manufacturer that signs an agreement
 for a negotiated price will be expected “to provide access to such price” for sales to

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   As explained above, this statutory provision actually offers a benefit to participating
 manufacturers. See supra at 26. This provision does not require manufacturers to make
 sales—it merely states that insurance providers shall cover the drugs that manufacturers
 do, in fact, agree to sell. See 42 U.S.C. § 1395w-104(b)(3)(I).

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 Medicare beneficiaries. 42 U.S.C. § 1320f-2(a)(1), (a)(3) (emphasis added). Rather than
 requiring manufacturers to give Medicare beneficiaries physical “access” to drugs, this
 provision merely establishes the prices at which any such sales may be made. Cedar Point,
 141 S. Ct. at 2072. The “penalties” about which Plaintiff complains, Pl.’s Br. at 15, thus
 attach only if a manufacturer provides drugs to Medicare beneficiaries at prices above
 those negotiated with CMS. See 42 U.S.C. § 1320f-6(a) (penalties apply for failure to
 “provide access to a price” (emphasis added)). There is no penalty (or tax liability) for
 not selling the drugs in the first place. Plaintiff’s physical taking argument therefore runs
 aground on the “settled difference in . . . takings jurisprudence between appropriation
 and regulation”—a distinction that the Supreme Court has relied on even when the two
 “may have the same economic impact.” Horne, 576 U.S. at 362. And Plaintiff’s efforts
 to conflate “access” to prices with “access” to drugs—by omitting critical parts of the
 statutory language, Pl.’s Br. at 13—betrays the conceptual problem with their takings
 theory writ large.
        In any event, even if Congress were forcing manufacturers to sell their drugs or
 otherwise “compel[ing] [manufacturers] to employ their property to provide [drugs] to
 the public,” that would (at worst) place those companies in a position similar to public
 “utilities.” Garelick, 987 F.2d at 916. Yet the Supreme Court has not treated utility rate-
 setting as physical takings. See, e.g., Verizon Commc’ns, Inc. v. FCC, 535 U.S. 467, 524–27
 (2002); see also Duquesne Light Co. v. Barasch, 488 U.S. 299, 307–15 (1989) (discussing
 evolution of takings jurisprudence with respect to public utilities). This makes sense:
 imposing limits on rates that utilities may charge customers does not deprive those
 utilities of the whole “bundle” of rights that are lost when the government physically

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 seizes or invades property. E.g., Horne, 576 U.S. at 361. And the Supreme Court has
 rejected facial challenges to statutory utility rate-setting methodologies, explaining that
 “the general rule is that any question about the constitutionality of rate-setting is raised
 by rates, not methods.” Verizon, 535 U.S. at 525. Plaintiff, of course, is not challenging
 any “particular, actual . . . rate” yet—nor can it do so. Id. at 524. The negotiation
 process is still in its early stages; the results of the negotiations are as yet unknown. 8
        This uncertainty would have foreclosed any attempt Plaintiff might have made
 to proceed under a regulatory taking theory. “Government regulation often ‘curtails
 some potential for the use or economic exploitation of private property,’ and ‘not every
 destruction or injury to property by governmental action has been held to be a “taking”
 in the constitutional sense.’” E. Enters. v. Apfel, 524 U.S. 498, 523 (1998) (citations
 omitted). “In light of that understanding, the process for evaluating a regulation’s
 constitutionality . . . is essentially ad hoc and fact intensive” and does not lend itself to
 broad categorical rules. Id.; see Lingle, 544 U.S. at 548. It is thus unsurprising that
 Plaintiff eschews a regulatory taking theory. See Pl.’s Br. at 16. But Plaintiff fares no
 better with the theory it has brought.


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   Plaintiff nonetheless asserts that the IRA necessarily “ensures a price well below the
 going market rate.” Pl.’s Br. at 16. In addition to being incorrect as a categorical matter,
 this assertion is irrelevant. In the utility rate-setting context, courts do not look to
 market price as a measure of a taking. See, e.g., Duquesne Light, 488 U.S. at 308 (noting
 the difficulty of analyzing what constitutes “just compensation . . . and what are the
 necessary elements in such an inquiry” (internal quotation marks omitted)). Instead,
 courts look to various factors related to investment-backed expectations—which
 depend on case-specific factors that are inimical to a facial challenge, and which Plaintiff
 does not even try to establish here. See, e.g., Verizon, 535 U.S. at 524-27 (explaining the
 need to conduct a fact-intensive inquiry).

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 III.     Plaintiff’s First Amendment Claim Is Meritless Because the Negotiation
          Program Does Not Compel Manufacturers to Speak

          Plaintiff’s First Amendment claim fares no better. That challenge rests entirely
 on Plaintiff’s erroneous contention that the agreements that manufacturers sign with
 CMS constitute “compelled” “speech” and thus violate the First Amendment. Pl.’s Br.
 at 27.
          1. Signing an agreement with CMS is not speech, nor is it expressive conduct.
 And any “speech” that may ordinarily be implicated in the execution of a commercial
 contract “is plainly incidental to the . . . regulation of conduct” that the contract
 governs. Rumsfeld v. Forum for Acad. & Inst. Rts., Inc. (FAIR), 547 U.S. 47, 62 (2006).
 The regulation of conduct “has never been deemed an abridgment of freedom of
 speech . . . merely because the conduct was in part initiated, evidenced, or carried out
 by means of language, either spoken, written, or printed.” Id. (quoting Giboney v. Empire
 Storage & Ice Co., 336 U.S. 490, 502 (1949)). Medicare routinely uses agreements that
 health care providers or other entities sign to memorialize their voluntary acceptance
 of the terms for participation in various programs; those agreements do not signify
 providers’ endorsement of, for example, the general fairness of the Medicare rate-
 setting process. See, e.g., 42 U.S.C. §§ 1395cc, 1396r-8(b), (c). These agreements—
 memorializing manufacturers’ acceptance of the terms for participation in the
 Negotiation Program—are no different.
          Manufacturers that choose to sign agreements with CMS undertake a voluntary
 obligation to negotiate prices and, ultimately, to provide Medicare beneficiaries with
 access to the negotiated prices for the selected drugs that the manufacturers sell. See



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 Revised Guidance at 118–20; see also Pl.’s Ex. E. This does not implicate the First
 Amendment any more than “typical price regulation,” which “would simply regulate
 the amount [of money] that a [manufacturer] could collect.” Expressions Hair Design v.
 Schneiderman, 581 U.S. 37, 47 (2017). As Plaintiff appears to recognize, see Pl.’s Br. at
 28, such “ordinary price regulation does not implicate constitutionally protected
 speech,” Nicopure Labs, LLC v. FDA, 944 F.3d 267, 292 (D.C. Cir. 2019) (citing
 Expressions Hair Design, 581 U.S. at 47); see also Campbell v. Robb, 162 F. App’x 460, 468
 (6th Cir. 2006) (recognizing “the general principle that government retains its full power
 to regulate commercial transactions directly, despite elements of speech and association
 inherent in such transactions”). In the same way, because the request that participating
 manufacturers sign agreements “is imposed ‘for reasons unrelated to the
 communication of ideas,’” that request does “not implicate the First Amendment.”
 Nicopure, 944 F.3d at 291 (quoting Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 569 (2001));
 see also Expressions Hair Design, 581 U.S. at 47 (where a “law’s effect on speech would be
 only incidental to its primary effect on conduct,” the law is not a regulation of speech
 subject to First Amendment scrutiny).
        A manufacturer’s decision to sign the negotiation agreement “is not inherently
 expressive,” FAIR, 547 U.S. at 64, which is “underscored by [the agreement’s] bearing
 only on product price,” Nicopure, 944 F.3d at 292, and ancillary program obligations.
 The terms of the agreement explicitly state what is already apparent: a manufacturer’s
 signature constitutes neither an “endorsement of CMS’ views” nor a representation of
 the manufacturers’ views concerning the fairness of prices. See Pl.’s Ex. E at 4
 (explaining that, by “signing this Agreement, the Manufacturer does not make any

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 statement regarding or endorsement of CMS’ views”). There is no merit to Plaintiff’s
 claim that the “disclaimer reinforces” its view that the contract suggests an endorsement
 of CMS’s views. Pl.’s Br. at 46 n.17. The government, no less than a commercial party,
 is free to emphasize an already obvious point. Indeed, contracts do this routinely, often
 to ensure that the parties have a shared understanding of the contract’s terms. So too
 here: the agreement uses statutory terms merely as a way of ensuring that the signatories
 share the same understanding of their respective obligations, and it explicitly
 emphasizes that the use of such terms serves this practical (and nonexpressive) purpose.
 Plaintiff cites no canon of construction supporting its view that a disclaimer has any
 expressive effect.
        This commercial arrangement is nothing like the regulations challenged in the
 cases that Plaintiff cites. See, e.g., Janus v. Am. Fed’n of State, Cnty., & Mun. Emps., 138 S.
 Ct. 2448, 2464 (2018) (holding that requiring public employees to pay union fees
 violated their free speech rights); Wooley v. Maynard, 430 U.S. 705, 707 (1977) (holding
 that state law requiring “noncommercial vehicles [to] bear license plates embossed with
 the state motto, ‘Live Free or Die’” violated First Amendment); Video Software Dealers
 Ass’n v. Schwarzenegger, 556 F.3d 950, 966–67 (9th Cir. 2009) (holding, in relevant part,
 that state law’s labeling requirement for “violent video games” was unconstitutional
 compelled speech); Pl.’s Br. at 28, 32 & n.5. The agreement to negotiate does not
 require manufacturers “to utter or distribute speech bearing a particular message,”
 Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 642 (1994), or to say anything about any
 agreed-on prices. Nor does the agreement restrict manufacturers’ ability to say
 whatever they wish about the Negotiation Program or to criticize CMS or the IRA.

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        A manufacturer may, of course, have numerous reasons for signing or not
 signing an agreement with CMS, and some of those reasons may pertain to views that
 it holds or wants to communicate to others. But a manufacturer’s views regarding the
 IRA or negotiated prices “do[] not convert all regulation that affects access to [selected
 drugs] into speech restrictions subject to First Amendment scrutiny.” Nicopure, 944
 F.3d at 291. Cf. City of Dallas v. Stanglin, 490 U.S. 19, 25 (1989) (“It is possible to find
 some kernel of expression in almost every activity a person undertakes—for example,
 walking down the street or meeting one’s friends at a shopping mall—but such a kernel
 is not sufficient to bring the activity within the protection of the First Amendment.”).
 Signing an agreement to negotiate “is simply not the same as forcing a student to pledge
 allegiance to the flag . . . or forcing a Jehovah’s Witness to display a particular motto on
 his license plate . . . and it trivializes the freedom protected in [those circumstances] to
 suggest that it is.” FAIR, 547 U.S. at 48 (citing W. Va. Bd. of Educ. v. Barnette, 319 U.S.
 624 (1943), and Wooley v. Maynard, 430 U.S. 705 (1977)).
        2. Moreover, because the Negotiation Program is voluntary, it does not compel
 any manufacturer to sign an agreement—or to do anything at all. Contra Pl.’s Br. at 30.
 For the reasons explained above, Plaintiff’s assertion that the manufacturer of a selected
 drug is “forced” to sign an agreement to negotiate, id. at 46, overlooks the various
 options the manufacturer has to exit or otherwise avoid the Negotiation Program, see
 supra Part I.B; see also Chamber I, 2023 WL 6378423, at *11. The First Amendment does
 not prohibit the government from giving a company the option to sign an agreement
 governing the terms of a program in which the company chooses to participate. See,
 e.g., FAIR, 547 U.S. at 59 (noting that “Congress is free to attach reasonable and

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 unambiguous conditions to federal” funds without triggering First Amendment scrutiny
 (quoting Grove City College v. Bell, 465 U.S. 555, 575–76 (1984))). Just as manufacturers
 are not forced to sell drugs to Medicare, manufacturers are not forced to sign
 agreements to negotiate the prices of those drugs. So even if Plaintiff’s “speech” were
 at issue here, that speech is not “compelled.”
        3.   Plaintiff alternatively suggests that the invitation to sign a negotiation
 agreement violates the “unconstitutional conditions doctrine,” Pl.’s Br. at 35—but this
 argument likewise fails at the threshold. Even if the agreements were expressive—
 which, again, they are not—the Supreme Court has long upheld conditions on speech
 that pertain to the nature of a government program. Where a program arises under the
 Spending Clause, Congress is free to attach “conditions that define the limits of the
 Government spending program—those that specify the activities Congress wants to
 subsidize.” Agency for Int’l Dev., 570 U.S. at 214; see, e.g., United States v. Am. Lib. Ass’n,
 539 U.S. 194, 212 (2003) (plurality opinion) (rejecting a claim by public libraries that
 conditioning funds for internet access on the libraries’ installing filtering software
 violated their First Amendment rights, explaining that “[t]o the extent that libraries wish
 to offer unfiltered access, they are free to do so without federal assistance”); Regan v.
 Taxation With Representation, 461 U.S. 540, 546 (1983) (rejecting “the notion that First
 Amendment rights are somehow not fully realized unless they are subsidized by the
 State” (internal quotation marks omitted)). Conditions implicating speech may be
 suspect only where those conditions “seek to leverage funding to regulate speech
 outside the contours of the program itself.” Agency for Int’l Dev., 570 U.S. at 214–15.



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       Here, the supposed condition about which Plaintiff complains is the signing of
 an agreement to negotiate and, ultimately, a pricing agreement. Those voluntary
 agreements are the core mechanisms by which negotiations will proceed and the source
 of the enforceable obligation for manufacturers to provide selected drugs at negotiated
 prices. See Revised Guidance at 118–20. In this way, these agreements “define the
 [Negotiation] program and” do not “reach outside it.” Agency for Int’l Dev., 570 U.S. at
 217. Because these agreements are simply “designed to ensure that the limits of the
 federal program are observed”—and that Medicare funds are “spent for the purposes
 for which they were authorized”—the opportunity to sign an agreement to participate
 in the Negotiation Program does not impose unconstitutional conditions on the use of
 federal funds. Rust v. Sullivan, 500 U.S. 173, 193, 196 (1991).
 IV.   The Court Lacks Subject-Matter Jurisdiction over Plaintiff’s Meritless
       Excise-Tax Claim
       A. The Court lacks jurisdiction over Plaintiff’s excise-tax claim

       As a threshold matter, Plaintiff’s Eighth Amendment excise-tax claim should be
 dismissed because it runs afoul of two independent jurisdictional barriers. First, this
 claim is not redressable because Plaintiff has not sued the Department of the Treasury
 or the IRS—the only agencies empowered to enforce the tax that Plaintiff seeks to
 enjoin and have declared unconstitutional. Second, this claim is barred by the AIA and
 the tax exception to the DJA. 9


 9
   The Court may dismiss the claim on either of those grounds. See Sinochem Int’l Co. v.
 Malaysia Int’l Shipping Corp., 549 U.S. 422, 431 (2007). Dismissal on the basis of the AIA
 would be more efficient, however, because Plaintiff cannot overcome the AIA by filing
 a new or revised complaint against the proper defendants.

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           1. Plaintiff’s excise-tax claim is not redressable in this suit

        Plaintiff lacks Article III standing to press its constitutional challenge to the
 excise tax. To show Article III standing, a plaintiff “bears the burden of establishing”
 that it has “suffered an injury in fact . . . that is likely to be redressed by a favorable
 judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). “Relief that does not
 remedy the injury suffered cannot bootstrap a plaintiff into federal court; that is the
 very essence of the redressability requirement.” Steel Co. v. Citizens for a Better Env’t, 523
 U.S. 83, 107 (1998). Redressability must be established “for each claim that [plaintiff]
 press[es] and for each form of relief that [it] seek[s].” TransUnion LLC v. Ramirez, 594
 U.S. 413, 431 (2021); see also id. (“[S]tanding is not dispensed in gross.”).
        Plaintiff’s excise-tax claim cannot be redressed in this suit against HHS and CMS.
 See Haaland v. Brackeen, 599 U.S. 255, 292 (2023). Plaintiff seeks two remedies with
 respect to the section 5000D tax: injunctive and declaratory relief. See Compl. ¶¶ 120,
 123; Proposed Order at 1–2, ECF No. 18-13. Even if such relief were available, see infra
 Part IV.A.2, neither remedy would provide Plaintiff with any redress, and Plaintiff
 therefore lacks standing.
        Take the requested injunctive relief first. Plaintiff alleges that the excise tax is
 “imposed for a failure to ‘agree’ with the government’s maximum fair price” and that
 this imposition is “punitive” in violation of the Excessive Fines Clause. Compl. ¶ 110;
 see also id. ¶ 63 (asserting tax “punish[es] a manufacturer that fails to ‘agree’ to the
 government’s pricing scheme for a particular drug”). Plaintiff then asks the Court to
 “[e]njoin Defendants from forcing Novartis . . . to ‘agree’ to prices set by the Program”
 by way of the excise tax. Id. ¶ 123; see also Proposed Order at 2 (“Defendants are


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 permanently enjoined from enforcing against Plaintiff any obligation to enter any
 ‘agreement’ under [the IRA]”). But Defendants—HHS and CMS—do not administer
 the IRA’s tax provisions, which are codified in the Internal Revenue Code. See 26 U.S.C.
 § 5000D. Rather, the Department of the Treasury, of which the IRS is a part, is charged
 with enforcing section 5000D and interpreting its provisions. Compare id. § 5000D(h)
 (“The Secretary shall prescribe such regulations and other guidance . . . .”), with id.
 § 5000D(b)(1)(B) (referring to “the Secretary of Health and Human Services”), and id.
 § 5000D(c)(1)(A)(i) (same); see also 26 U.S.C. § 7701(a)(11)(B) (“When used in this title,
 [unless otherwise stated], [t]he term ‘Secretary’ means the Secretary of the Treasury or
 his delegate.”). As Plaintiff acknowledges, see Pl.’s Br. at 38, under this authority,
 Treasury has issued a notice explaining how it interprets section 5000D. See IRS Notice.
 The notice explains that the “Treasury Department and the IRS”—not HHS or CMS—
 “intend” to issue “forthcoming proposed regulations” regarding the scope of taxable
 sales, see id. § 3.01, and the applicable tax percentage, see id. § 3.02.
        Accordingly, the injunction Plaintiff requests cannot redress any tax-based
 injuries in this suit. Defendants are not the agencies that would assess or collect any
 tax and, even though Treasury and the IRS are of course federal agencies, the Court
 cannot enter judgment against them because they are “not parties to the suit” and they
 would not be “obliged to honor an incidental legal determination the suit produced.”
 Lujan v. Defs. of Wildlife, 504 U.S. 555, 569 (1992) (plurality opinion); see also id. at 570–
 71 (“The short of the matter is that redress of the only injury in fact respondents
 complain of requires action . . . by the individual funding agencies; and any relief the
 District Court could have provided in this suit against the Secretary was not likely to

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 produce that action.”). The Supreme Court recently reaffirmed that a plaintiff lacks
 Article III standing to secure an injunction if it fails to sue the entities allegedly
 responsible for its purported injuries. See Brackeen, 599 U.S. at 292 (“enjoining the
 federal parties would not remedy the alleged injury” because other entities carry out the
 challenged provisions). Whatever injury Plaintiff might one day suffer “at the hands”
 of Treasury and the IRS “is insufficient by itself to establish a case or controversy in
 the context of this suit, for [neither Treasury nor the IRS] is a defendant.” Simon v. E.
 Ky. Welfare Rts. Org., 426 U.S. 26, 41 (1976).
        Plaintiff’s “request for a declaratory judgment”—asking the Court to “[d]eclare
 that the Program’s ‘excise tax’ violates the Excessive Fines Clause,” Compl. ¶ 120—
 “suffers from the same flaw.” Brackeen, 599 U.S. at 293. “[J]ust like suits for every other
 type of remedy, declaratory-judgment actions must satisfy Article III’s case-or-
 controversy requirement.” California v. Texas, 141 S. Ct. 2104, 2115 (2021). Declaratory
 relief “conclusively resolves ‘the legal rights of the parties.’” Brackeen, 599 U.S. at 293
 (quoting Medtronic, Inc. v. Mirowski Family Ventures, LLC, 571 U.S. 191, 200 (2014)); see
 also Md. Cas. Co. v. Pacific Coal & Oil Co., 312 U.S. 270, 273 (1941) (“[T]he question in
 each case is whether the facts alleged . . . show that there is a substantial controversy,
 between parties having adverse legal interests . . . to warrant the issuance of a declaratory
 judgment.” (emphasis added)). “But again, [Treasury and IRS] are nonparties who
 would not be bound by the judgment.” Brackeen, 599 U.S. at 293. Thus, Plaintiff’s
 excise-tax challenge “would not be settled between [Plaintiff] and the officials who
 matter—which would leave the declaratory judgment powerless to remedy the alleged
 harm.” Id. And “[w]ithout preclusive effect, a declaratory judgment is little more than

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 an advisory opinion.” Id.; see also California, 141 S. Ct. at 2115 (“Remedies . . . operate
 with respect to specific parties. In the absence of any specific party, they do not simply
 operate on legal rules in the abstract.” (cleaned up)).
        The mere possibility that a court’s “legal reasoning may inspire or shame others
 into acting differently” is immaterial; rather, courts “measure redressability by asking
 whether a court’s judgment will remedy the plaintiff’s harms.” United States v. Texas,
 143 S. Ct. 1964, 1979 (2023) (Gorsuch, J., concurring). After all, “[i]t is a federal court’s
 judgment, not its opinion, that remedies an injury; thus it is the judgment, not the
 opinion, that demonstrates redressability.” Brackeen, 599 U.S. at 294. Because Plaintiff
 “can hope for nothing more than an opinion” in this suit against HHS and CMS, it
 “cannot satisfy Article III” as to the excise-tax claim. See id.
            2. The AIA and the tax exception to the DJA prohibit this Court from
               adjudicating Plaintiff’s excise-tax claim

        Plaintiff’s excise-tax claim is independently barred by the AIA and the tax
 exception to the DJA. “Congress has expressly invoked sovereign immunity with
 respect to virtually all tax assessment challenges and demands for declaratory and
 injunctive relief under the [Internal Revenue Code].” United States v. Stuler, 396 F. App’x
 798, 800 (3d Cir. 2010) (citing 26 U.S.C. § 7421(a); 28 U.S.C. § 2201). Under the AIA,
 “no court has jurisdiction over a suit” like this one “to preemptively challenge a tax.”
 RYO Mach., LLC v. Dep’t of Treasury, 696 F.3d 467, 470 (6th Cir. 2012). And, for AIA
 purposes, a “tax” is any exaction—like the excise tax—that Congress has “label[ed]” as
 such. Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 544, 564 (2012); see also 26 U.S.C.
 § 5000D (labeling excise tax as a “tax”). This Court is similarly prohibited from granting


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 the declaratory relief that Plaintiff seeks because the tax exception to the DJA bars
 courts from issuing declaratory judgments “with respect to Federal taxes.” 28 U.S.C.
 § 2201(a). Because Plaintiff asks the Court to preemptively enjoin, and declare the
 constitutionality of, the section 5000D tax, this claim must be dismissed.
               a. The AIA deprives this Court of jurisdiction over the excise-tax
                  claim

        No court may “restrain[] the assessment or collection of any tax.” 26 U.S.C.
 § 7421(a). “The [AIA] apparently has no recorded legislative history, but its language
 could scarcely be more explicit—‘no suit for the purpose of restraining the assessment
 or collection of any tax shall be maintained in any court . . . .’” Bob Jones Univ. v. Simon,
 416 U.S. 725, 736 (1974). “Because of the [AIA], taxes can ordinarily be challenged
 only after they are paid, by suing for a refund.” NFIB, 567 U.S. at 543; Flynn v. U.S. ex
 rel. Eggers, 786 F.2d 586, 588 (3d Cir. 1986) (AIA requires tax challenges “be determined
 in a suit for refund”).
        The AIA’s jurisdictional bar applies with equal force to constitutional challenges
 to a tax. The Supreme Court has made “it unmistakably clear that the constitutional
 nature of a taxpayer’s claim . . . is of no consequence under the [AIA].” Alexander v.
 Ams. United Inc., 416 U.S. 752, 759 (1974). “[N]otwithstanding that [Plaintiff] [has]
 couched [its] tax collection claim in constitutional terms,” it “seek[s] to restrain the
 Government’s collection of taxes, which is precisely what the [AIA] prohibits.” We the
 People Found., Inc. v. United States, 485 F.3d 140, 143 (D.C. Cir. 2007); see also Franklin v.
 United States, No. 3:20-cv-1303, 2021 WL 4458377, at *7 (N.D. Tex. Sept. 29, 2021)




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 (“couching” tax challenge “in constitutional terms” insufficient to contravene AIA),
 aff’d, 49 F.4th 429 (5th Cir. 2022).
        i. To determine whether the AIA applies, courts ask (1) whether the exaction at
 issue is a “tax,” and (2) whether the purpose of the claim is to “restrain[] the assessment
 or collection” of that tax. 26 U.S.C. § 7421(a). Because both are true here, the excise-
 tax claim is barred by the AIA.
        First, the section 5000D excise tax is a “tax” for AIA purposes because Congress
 “label[ed]” it as such. See NFIB, 567 U.S. at 564. The AIA and the IRA’s excise tax are
 “creatures of Congress’s own creation” and, therefore, “[h]ow they relate to each other
 is up to Congress, and the best evidence of Congress’s intent is the statutory text.” Id.
 at 544. Accordingly, “even where [a] label was inaccurate” for constitutional purposes,
 the Supreme Court has “applied the [AIA]” to bar preemptive challenges “to statutorily
 described ‘taxes.’” Id. (citation omitted); id. at 564 (“It is up to Congress whether to
 apply the [AIA] to any particular statute, so it makes sense to be guided by Congress’s
 choice of label on that question.”). Simply put, “the [AIA’s] reach depends on statutory
 labels.” In re Juntoff, 76 F.4th 480, 485 (6th Cir. 2023); see also Optimal Wireless LLC v.
 IRS, 77 F.4th 1069, 1074 (D.C. Cir. 2023) (looking to statutory references to determine
 whether exaction is tax for AIA purposes); Matter of Westmoreland Coal Co., 968 F.3d 526,
 534 (5th Cir. 2020) (“With the AIA, form—specifically, the label Congress uses—does
 matter over substance.”). That is, the AIA “draws no distinction between regulatory
 and revenue-raising tax rules”; rather, if the exaction is labeled a tax by Congress, it is a
 tax for AIA purposes. See CIC Servs., LLC v. IRS, 593 U.S. 209, 225 (2021).



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        Congress labeled the excise tax a “tax.” Section 5000D refers to a “tax” nearly a
 half dozen times. See 26 U.S.C. § 5000D(a) (“There is hereby imposed on the sale by
 the manufacturer . . . of any designated drug . . . a tax . . . .”); id. § 5000D(a)(1) (referring
 to “such tax”); id. § 5000D(a)(2) (same); id. § 5000D(c) (“Suspension of Tax”). The
 final reference is especially direct: “[i]n the case of a sale which was timed for the
 purpose of avoiding the tax imposed by this section, the Secretary may treat such sale as
 occurring during a day described in [the subsection defining periods to which the tax
 applies].” Id. § 5000D(f)(2) (emphasis added). Further, Congress codified section
 5000D in Title 26—i.e., the Internal Revenue Code—separate from the rest of the IRA’s
 drug-negotiation provisions. See Pub. L. No. 117-169, § 11003 (“Subtitle D of the
 Internal Revenue Code of 1986 is amended by adding at the end the following . . . .”).
 For AIA purposes, the statutory text is clear: section 5000D imposes a “tax.”
        Second, the purpose of Plaintiff’s excise-tax claim is to “restrain[]” the
 “assessment or collection” of the section 5000D tax.               26 U.S.C. § 7421(a).       In
 considering a claim’s purpose, courts look to “the claims brought and injuries alleged”
 as well as “the relief the suit requests.” CIC Servs., 593 U.S. at 217. The excise-tax claim
 squarely targets the tax. See, e.g., Compl. ¶ 112 (the “excise tax is . . . unconstitutional
 under the Excessive Fines Clause of the Eighth Amendment”); see also id. ¶¶ 63–71,
 108–11. Cf. CIC Servs., 593 U.S. at 219 (“The complaint contests the legality of [an IRS
 notice], not of the statutory tax penalty that serves as one way to enforce it. CIC alleges
 that the Notice is procedurally and substantively flawed; it brings no legal claim against
 the separate statutory tax.”). And the relief requested here to “[e]njoin Defendants
 from forcing Novartis . . . to ‘agree’ to prices set by the Program”—which Plaintiff says

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 is accomplished by “impos[ing]” a “clearly punitive” “excise tax”—asks the Court to
 restrain the assessment or collection of that tax. Compl. ¶¶ 110, 123. “These allegations
 leave little doubt that a primary purpose of” the tax claim “is to prevent the [IRS] from
 assessing and collecting” the excise tax. Bob Jones, 416 U.S. at 738.
        ii. “Exceptions to [the AIA’s] express prohibition have been allowed only in
 limited areas and for extraordinary circumstances.” Thornton v. United States, 493 F.2d
 164, 166 (3d Cir. 1974). Neither of the two judicially created exceptions—the Williams
 Packing and the South Carolina exceptions—applies here. See South Carolina v. Regan, 465
 U.S. 367 (1984); Enochs v. Williams Packing & Navig. Co., 370 U.S. 1 (1962).
        A taxpayer’s “burden under Williams Packing is very substantial.” Flynn, 786 F.2d
 at 591. This “stringent” exception requires “proof of the presence of two factors” to
 avoid “the literal terms of” the AIA: “first, irreparable injury, the essential prerequisite
 for injunctive relief in any case; and second, certainty of success on the merits.” Bob
 Jones, 416 U.S. at 737 (discussing Williams Packing, 370 U.S. at 6). “Unless both
 conditions are met, a suit for preventive injunctive relief must be dismissed.” Am.
 United, 416 U.S. at 758. Neither one is met here.
        First, because a refund suit is an adequate remedy, Plaintiff cannot establish that
 it will suffer irreparable harm absent preemptive injunctive relief. See Gaetano v. United
 States, 942 F.3d 727, 734 (6th Cir. 2019). “This is not a case in which an aggrieved
 [taxpayer] has no access at all to judicial review.” Bob Jones, 416 U.S. at 746. A
 manufacturer that wishes to challenge the excise tax could pay it, seek a refund from
 the IRS, then sue for a refund in district court or the Court of Federal Claims. See 26
 U.S.C. § 7422; 28 U.S.C. §§ 1346(a)(1), 1491; see also Sutherland v. Egger, 605 F. Supp. 28,

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 31 (W.D. Pa. 1984) (“plaintiffs have an adequate remedy at law, a refund suit”). That
 is particularly true given that the excise tax is imposed on each “sale” of a designated
 drug, 26 U.S.C. § 5000D(a), and is thus a “divisible tax,” meaning “one that represents
 the aggregate of taxes due on multiple transactions (e.g., sales of items subject to excise
 taxes),” Rocovich v. United States, 933 F.2d 991, 995 (Fed. Cir. 1991). A taxpayer
 challenging a divisible tax need only pay “the excise tax on a single transaction [to]
 satisfy” the rule that it must fully pay the tax before seeking a refund. Id.; see also Flora
 v. United States, 362 U.S. 145, 171–75 nn.37, 38 (1960). And, while a refund suit is
 pending, the IRS typically does not collect the balance of any divisible tax that would
 otherwise be due, except when unusual circumstances warrant. IRS Policy Statement
 5-16, IRM § 1.2.1.6.4(6) (“When a refund suit is pending on a divisible assessment, the
 Service will exercise forbearance with respect to collection provided that the interests
 of the government are adequately protected and the revenue is not in jeopardy.”).
        Second, in any event, even a showing of irreparable harm would be insufficient to
 set aside the AIA. See Williams Packing, 370 U.S. at 6. Plaintiff would also have to show
 that, “under the most liberal view of the law and the facts,” “it is clear that under no
 circumstances could the Government ultimately prevail” on its defense of the merits.
 Id. at 7; see also Flynn, 786 F.2d at 591. A plaintiff can satisfy this second prong only if
 it establishes “certainty of success on the merits.” Bob Jones, 416 U.S. at 737. This high
 bar is rarely met. See, e.g., Williams Packing, 370 U.S. at 8 (government’s defense of tax
 “was not without foundation”); Beale v. IRS, 256 F. App’x 550, 551 (3d Cir. 2007) (not
 “clear that under no circumstances could the Government ultimately prevail”); Cohen v.
 Gross, 316 F.2d 521, 523 (3d Cir. 1963) (tax not “unquestionably illegal”). And, as set

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 forth below, see infra at 48–60, it is plainly not met here either, particularly given that no
 court, to Defendants’ knowledge, has ever held that a tax—let alone one, like the excise
 tax, lacking any connection to criminal conduct or a criminal proceeding—was a fine
 for Excessive Fines Clause purposes.
        The South Carolina exception similarly offers no safe harbor. That exception is a
 “very narrow” one that applies only when “Congress has not ‘provided an alternative
 avenue for an aggrieved party to litigate its claims,’” necessitating the party harmed by
 the tax to find a third party to assert the legal issues. RYO Mach., 696 F.3d at 472
 (quoting South Carolina, 465 U.S. at 381). This case is a far cry from “the unique factual
 pattern” in South Carolina, where the state could not bring a refund suit itself and had to
 rely on third-party bondholders to challenge a change in the tax code that stripped
 certain state-issued bonds of their tax-exempt status. Id. (quoting Am. Soc. of Ass’n Execs.
 v. Bentsen, 848 F. Supp. 245, 250 (D.D.C. 1994)).
               b. The DJA tax exception bars declaratory relief regarding the
                  excise tax

        Plaintiff’s attempt to obtain declaratory relief also fails. “[T]he federal tax
 exception to the [DJA] is at least as broad as the [AIA].” Bob Jones, 416 U.S. at 733 n.7;
 see also Ams. United, 416 U.S. at 759 n.10 (same). Accordingly, courts lack jurisdiction
 to issue declaratory relief regarding challenged tax provisions. See, e.g., Larson v. United
 States, 888 F.3d 578, 589 (2d Cir. 2018) (Eighth Amendment claim barred by DJA);
 Rivero v. Fid. Invs., Inc., 1 F.4th 340, 344 (5th Cir. 2021) (“the DJA’s federal-tax exception
 imposes a jurisdictional condition that was not met”). Thus, declaratory relief is barred
 for the same reasons that the AIA bars enjoining assessment or collection of the tax.


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                                        *      *      *
        In short, multiple independent jurisdictional bars preclude this Court from
 evaluating the merits of Plaintiff’s Eighth Amendment claim. That claim should
 therefore be dismissed.
        B. Even if the Court had jurisdiction over Plaintiff’s Eighth Amendment
           claim, that claim would fail on the merits

        Even if the Court were to reach the merits of the excise-tax claim, that claim
 would fail because the tax does not violate the Excessive Fines Clause. The Eighth
 Amendment provides that “[e]xcessive bail shall not be required, nor excessive fines
 imposed, nor cruel and unusual punishments inflicted.” U.S. Const. amend. VIII.
 “Taken together, these Clauses place ‘parallel limitations’ on ‘the power of those
 entrusted with the criminal-law function of government.’” Timbs v. Indiana, 139 S. Ct.
 682, 687 (2019) (quoting Browning-Ferris Indus. of Vt., Inc. v. Kelco Disposal, Inc., 492 U.S.
 257, 263 (1989)). “The purpose of the Eighth Amendment”—both the Excessive Fines
 Clause and the Cruel and Unusual Punishments Clause—“was to limit the
 government’s power to punish.” Austin v. United States, 509 U.S. 602, 609 (1993). The
 threshold question in any Excessive Fines Clause case then is whether the challenged
 exaction constitutes “punishment for an offense”—i.e., whether it is a “fine” covered
 by the Eighth Amendment. United States v. Bajakajian, 524 U.S. 321, 328 (1998). Only
 if the exaction is deemed punishment does a court consider whether the fine is
 unconstitutionally excessive.
        The excise tax does not violate the Excessive Fines Clause because it is neither a
 “fine” nor “excessive.” The excise tax is not a “fine” covered by the Eighth


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 Amendment because it is not “punishment for some offense.” Bajakajian, 524 U.S. at
 327. The excise tax has no connection to a criminal offense or criminal proceedings—
 unlike the exactions at issue in the Excessive Fines Clause precedents that Plaintiff cites.
 The excise tax also lacks the “unusual features” of the drug taxes in Kurth Ranch and Dye
 that led the Supreme Court and the Seventh Circuit, respectively, to conclude that those
 taxes constituted punishment for purposes of the Double Jeopardy Clause. Even if the
 excise tax were a fine, the proportionality test—which itself looks to the “gravity of the
 offense,” a factor that has no bearing here given the lack of any offense—demonstrates
 that the excise tax is not grossly disproportionate to the harm to the fisc and is within
 the range of other constitutional exactions.
        1. “[A]t the time of the Framing, the Founders understood ‘“fine” . . . to mean
 a payment to a sovereign as punishment for some offense.’” United States v. Cheeseman,
 600 F.3d 270, 282 (3d Cir. 2010) (quoting Bajakajian, 524 U.S. at 327). “Then, as now,”
 fines were typically imposed as punishments in criminal prosecutions. Browning-Ferris
 Indus., 492 U.S. at 265. While the Supreme Court has found certain civil penalties and
 forfeitures to constitute “punishment” within the scope of the Excessive Fines Clause,
 it has done so only in cases where the penalty or forfeiture either constituted a post-
 conviction sanction, see Bajakajian, 524 U.S. at 325 (person convicted of willfully
 violating reporting requirement shall forfeit property “involved in such offense”), or
 was assessed against property used in the commission of a crime for which the owner
 had been convicted, see Austin, 509 U.S. at 622 (property used to facilitate drug crimes
 subject to civil forfeiture). The Court has never characterized an exaction with no



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 connection to either criminal activity or a criminal proceeding as “punishment for some
 offense,” let alone punishment that violates the Excessive Fines Clause.
       Plaintiff does not cite any case that does so—from the Third Circuit or
 elsewhere. See Pl.’s Br. at 35–40. Instead, the two excessive fines cases Plaintiff cites
 in which the forfeiture or penalty was held to be “punishment”—Austin and
 Bajakajian—involved criminal conduct or criminal proceedings. Neither case involves
 taxes or otherwise bears any resemblance to this case.
       Take Austin first.     After Austin pleaded guilty to cocaine possession, the
 government sought forfeiture of his mobile home and auto shop pursuant to provisions
 that made property used in furtherance of certain crimes subject to civil forfeiture.
 Austin, 509 U.S. at 604–05 (citing 21 U.S.C. § 881(a)(4), (7)). Both history and modern
 practice demonstrated that these provisions constituted punishment. The Court
 concluded that, “at the time the Eighth Amendment was ratified,” forfeiture was
 understood “as imposing punishment.” Id. at 611–18. And three features of these
 provisions demonstrated that they remained “punishment today”: (1) the “inclusion of
 innocent-owner defenses,” which reveals a “congressional intent to punish only those
 involved in drug trafficking”; (2) “Congress [having] chosen to tie forfeiture directly to
 the commission of drug offenses”; and (3) a legislative history that indicates “Congress
 recognized ‘that the traditional criminal sanctions of fine and imprisonment are
 inadequate to deter or punish the enormously profitable trade in dangerous drugs.’” Id.
 at 619–20 (citation omitted). Taken together, these forfeiture provisions constituted
 “punishment for some offense” subject to the Excessive Fines Clause. Id. at 622.



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        Bajakajian, meanwhile, is a criminal forfeiture case. After Bajakajian tried to leave
 the country without reporting over $350,000 in cash, he was charged with three counts.
 524 U.S. at 325. The third sought forfeiture of the unreported funds pursuant to 18
 U.S.C. § 982(a)(1), which provides that, “in imposing sentence on a person convicted
 of [failure-to-report crime],” the court “shall order that the person forfeit . . . any
 property . . . involved in such offense.” Id. The Court held that this forfeiture was
 “punishment” under the Excessive Fines Clause. Id. at 328–34. Again, the Court
 looked to history, concluding that such forfeitures “have historically been treated as
 punitive, being part of the punishment imposed for felonies and treason in the Middle
 Ages and at common law.” Id. at 332. The modern version remained “punishment”:
 the forfeiture is “imposed at the culmination of a criminal proceeding and requires
 conviction of an underlying felony, and it cannot be imposed upon an innocent owner
 of unreported currency, but only upon a person who has himself been convicted of a
 [criminal] reporting violation.” Id. at 328.
        None of the features of the civil forfeiture in Austin or the criminal forfeiture in
 Bajakajian is present here. See United States v. Toth, 33 F.4th 1, 16 (1st Cir. 2022)
 (“[U]nlike [the] forfeitures held to constitute ‘punishment’ in both Austin and Bajakajian,
 this civil penalty”—“imposed following an administrative tax audit”—“is not tied to
 any criminal sanction.”), cert. denied, 143 S. Ct. 552 (2023). Unlike civil or criminal
 forfeiture, “taxes historically have not been viewed as punishment.” United States v.
 Beaty, 147 F.3d 522, 525 (6th Cir. 1998). The other three Austin factors are similarly
 absent. First, section 5000D does not contain an innocent-taxpayer exception and
 imposition of the tax does not depend on any particular level of culpability. See generally

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 26 U.S.C. § 5000D. Second, the excise tax is not tied to the commission of any crime;
 rather, tax liability is triggered by the lawful choices of the taxpayer in connection with
 the Negotiation Program. See id. § 5000D(a), (b), (e)(1). Third, Congress did not
 indicate that the tax is meant to supplement “traditional criminal sanctions of fine and
 imprisonment” to adequately “deter or punish” illegal activity. See Austin, 509 U.S. at
 620. And, unlike the criminal forfeiture in Bajakajian, the excise tax is not “imposed at
 the culmination of a criminal proceeding,” does not “require[] [a] conviction of an
 underlying felony,” and does not distinguish in its rate or scope between different levels
 of culpability. See Bajakajian, 524 U.S. at 328.
        2. Having identified no case in which an exaction untethered from criminal
 conduct or criminal proceedings was deemed “punishment for some offense” under
 the Excessive Fines Clause, Plaintiff turns to two Double Jeopardy Clause cases. See
 Pl.’s Br. at 36–37 (citing Dep’t of Revenue of Montana v. Kurth Ranch, 511 U.S. 767 (1994);
 Dye v. Frank, 355 F.3d 1102 (7th Cir. 2004)). Those are the only cases Plaintiff identifies
 in which a tax was held to be punishment; it does not cite any case (and Defendants are
 not aware of one) in which a tax was deemed to be “punishment for some offense” (i.e.,
 a “fine”) under the Excessive Fines Clause. And both cases—involving drug taxes
 related to criminal offenses—reinforce why the tax here is not punishment.
        As a preliminary matter, the analytical framework used by the Supreme Court in
 Kurth Ranch undermines a core premise of Plaintiff’s argument: that the excise tax is a
 “fine” if it “serv[es] in part to punish.” Pl.’s Br. at 36 (quoting Austin, 509 U.S. at 610).
 The Court first adopted that test in United States v. Halper, 490 U.S. 435 (1989), a case
 involving a $130,000 civil penalty on the heels of a 65-count criminal conviction that

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 also resulted in a two-year prison sentence and a $5,000 fine. Id. at 437–38. Because
 the post-conviction civil fine could not “fairly be said solely to serve a remedial purpose,
 but rather can only be explained as also serving either retributive or deterrent purposes,”
 the Court held it was “punishment” for Double Jeopardy purposes. Id. at 448. 10
        The Supreme Court has never applied this deterrent-in-part test in the tax
 context, and, in Kurth Ranch, the Court rejected its application to a state drug tax. 511
 U.S. at 776. As the Third Circuit has recognized, Kurth Ranch “announc[ed] that the ‘no
 deterrent purpose’ rule of Halper and Austin does not apply in all situations.” Artway v.
 Att’y Gen. of State of N.J., 81 F.3d 1235, 1258 (3d Cir. 1996); see also United States v.
 $184,505.01 in U.S. Currency, 72 F.3d 1160, 1166 (3d Cir. 1995) (“[T]he Court found the
 Halper method of determining whether a civil sanction is punitive to be inapplicable to
 tax statutes.”). In Kurth Ranch, the Court concluded that the Halper test was inapplicable
 to a Double Jeopardy Clause challenge to a Montana tax on illegal drug possession
 because, while Halper held that certain civil penalties could constitute punishment,
 “Halper did not . . . consider whether a tax may similarly be characterized as punitive.”
 511 U.S. at 776, 778 (emphasis added). Because “tax statutes serve a purpose quite
 different from civil penalties,” “Halper’s method of determining whether the exaction
 was remedial or punitive ‘simply does not work in the case of a tax statute.’ Subjecting
 Montana’s drug tax to Halper’s test for civil penalties is therefore inappropriate.” Id. at
 784 (citation omitted). Accordingly, “neither a high rate of taxation nor an obvious

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   The Court later abrogated Halper in Hudson v. United States, 522 U.S. 93, 102 (1997)
 (noting that “all civil penalties have some deterrent effect” and rejecting “Halper’s test
 for determining whether a particular sanction is ‘punitive’” under the Double Jeopardy
 Clause).

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 deterrent purpose automatically marks [a] tax as a form of punishment.” Id. at 780.
 “Whereas fines, penalties, and forfeitures are readily characterized as sanctions,” absent
 “[o]ther unusual features,” “an exaction labeled as a tax” is not deemed punishment,
 even if it is accompanied by a “deterrent purpose.” Id. at 779–81; id. at 780–81 (“[M]any
 taxes that are presumed valid, such as taxes on cigarettes and alcohol, are also both high
 and motivated to some extent by an interest in deterrence . . . .”); contra Pl.’s Br. at 36–
 37.
        The facts of Kurth Ranch are equally unhelpful to Plaintiff. The marijuana tax
 there was deemed “punishment” only because of a host of “unusual features” and
 “anomalies” absent here. Concluding that the tax’s high rate and admittedly deterrent
 purpose did “not necessarily render the tax punitive,” the Court identified three
 additional, “unusual features” that led the Court to label the “exceptional” Montana tax
 as punishment. Id. at 781, 783. First, Montana’s “so-called tax” 11 was “conditioned on
 the commission of a crime.” Id. at 781. Second, it was “exacted only after the taxpayer
 has been arrested for the precise conduct that gives rise to the tax obligation in the first
 place” such that “[p]ersons who have been arrested for possessing marijuana
 constitute[d] the entire class of taxpayers subject to the Montana tax.” Id. at 781–82.
 Third, the tax was “levied . . . on previously confiscated goods” that the “taxpayer
 neither own[ed] nor possess[ed] when the tax [was] imposed.” Id. at 783. Because of

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   Plaintiff similarly refers to the section 5000D tax as a “so-called ‘tax.’” Pl.’s Br. at 36.
 That characterization, as the Court’s own description of the Montana drug tax shows,
 does not alter the punishment analysis. What mattered for purposes of the Court’s
 decision in Kurth Ranch was that the Montana tax was “labeled as a tax.” 511 U.S. at
 780. Given that label, the Court refused, unlike in Halper and Austin, to hold that the
 tax constituted punishment on the sole basis that the tax partly had a deterrent purpose.

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 this “concoction of anomalies,” the Court held that the tax was “too far-removed in
 crucial respects from a standard tax assessment to escape characterization as
 punishment.” Id.
        None of the “unusual features” that made the Montana tax “exceptional” is
 present here: the excise tax is not conditioned on the commission of a crime, it is not
 exacted after an arrest, and it is not levied on previously confiscated goods. See id. at
 781–83. Indeed, the tax does not follow any determination that the taxpayer has
 engaged in any unlawful activity. See generally 26 U.S.C. § 5000D. Further, unlike the
 tax assessment in Kurth Ranch, which required the taxpayer to pay a multiple of gross
 revenue (approximately four times), 511 U.S. at 780 n.17, a manufacturer’s excise-tax
 obligations may be satisfied by paying a fraction of gross revenue because the tax, when
 not separately invoiced, ranges from 65% to 95% of the amount charged for a
 designated drug, IRS Notice § 3.02; see also 26 U.S.C. § 5000D(d). 12


 12
    Plaintiff maintains that the tax reaches “nineteen times the manufacturer’s nationwide
 revenues.” Pl.’s Br. at 37. But the IRS has made clear, in a notice that “taxpayers may
 rely on” now, IRS Notice § 4; contra Pl.’s Br. at 8 n.2, that—assuming a manufacturer
 does not separately invoice the tax and assuming 271 days have passed—a covered
 taxpayer would owe a $95 tax out of $100 charged for a drug by a manufacturer—that
 is 95%, not 1900%. See IRS Notice § 3.02. Further, that notice explains that the tax
 applies only to sales “under the terms of Medicare”—i.e., only those drugs dispensed,
 furnished, or administered to Medicare beneficiaries. Id. § 3.01 (emphasis added).
 Plaintiff appears to dispute IRS’s interpretation of section 5000D, see Pl.’s Br. at 38–40,
 but Plaintiff does not bring a standalone claim as to the notice. That is unsurprising,
 given that the IRS’s interpretation—at least in comparison to the one advanced by
 Plaintiff—operates to Plaintiff’s benefit, and Plaintiff would therefore lack standing to
 challenge it. In any event, because Plaintiff brings a facial challenge—before any tax
 has been assessed or collected, in violation of the AIA—it must establish that the tax is
 unconstitutional in all applications. City of Los Angeles v. Patel, 576 U.S. 409, 418 (2015).


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        Further, unlike the tax in Kurth Ranch, the excise tax serves a remedial purpose in
 compensating the public fisc for losses incurred from a manufacturer failing to agree to
 a maximum fair price and continuing to sell its drugs to Medicare beneficiaries,
 potentially at much higher prices. Indeed, courts regularly recognize that tax penalties—
 which would appear to have a greater deterrent purpose than taxes themselves—have
 a remedial purpose. See Helvering v. Mitchell, 303 U.S. 391, 401 (1938) (describing “[t]he
 remedial character of sanctions imposing additions to a tax”); Dewees v. United States, 272
 F. Supp. 3d 96, 100–01 (D.D.C. 2017) (“courts have erected ‘an insurmountable wall of
 tax cases’ to support [the] proposition” that “tax penalties are remedial”), aff’d, 767 F.
 App’x 4 (D.C. Cir. 2019). 13
        The Seventh Circuit’s decision in Dye is similarly inapposite. Dye appealed the
 denial of a habeas petition he filed after being criminally charged for cocaine possession
 subsequent to a civil action to collect unpaid controlled substances taxes on the same


 Therefore, to the extent the parties have a dispute about the applicable rate of tax that
 would apply, Plaintiff is entitled to relief only if the excise tax is unconstitutional
 applying IRS’s interpretation of its scope and rate.
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    Plaintiff asserts, without citation, that “the government itself does not anticipate
 deriving any revenue from” the excise tax. Pl.’s Br. at 3. Plaintiff appears to be referring
 here to Congressional Budget Office (CBO) projections. See Compl. ¶ 5 (citing CBO
 predictions). To the extent that Plaintiff is contending that a CBO prediction can
 determine whether a tax has a remedial purpose, Plaintiff is wrong. “[A] CBO cost
 estimate is not persuasive evidence of congressional intent.” Laumann v. NHL, 56 F.
 Supp. 3d 280, 296 (S.D.N.Y. 2014); see also Sharp v. United States, 580 F.3d 1234, 1239
 (Fed. Cir. 2009) (“the CBO is not Congress, and its reading of the statute is not
 tantamount to congressional intent”). Regardless, Plaintiff’s argument confuses
 purposes and effects. The excise tax can and does have a remedial purpose even if, by
 Plaintiff’s telling, a manufacturer would not engage in the conduct that would cause the
 harm the excise tax is designed to remedy. Cf. United States v. Sanchez, 340 U.S. 42, 44
 (1950) (tax is valid “even [if it] definitely deters the activity taxed”).

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 cocaine. 355 F.3d at 1103. Applying a seven-factor test, the court held that the
 Wisconsin drug tax was the “rare tax statute” that “is so punitive in either purpose or
 effect that it is subject to double jeopardy analysis at all.” Id. at 1108. The court’s
 holding rested on key facts missing here: “the tax is only applied to behavior that is
 already a crime,” was “created in order to deter criminal conduct,” and the amount of
 the tax was “approximately five times the market value of the drugs” ($400 tax
 assessment and penalty on a gram of cocaine that could be sold for “approximately
 $80”). Id. at 1104–05. Based on these facts, and the similarities with the Kurth Ranch
 tax, the court described the drug tax as “criminal punishment masquerading as a civil
 tax” such that further criminal proceedings risked punishing Dye twice “for his
 misconduct.” Id. at 1108. Again, none of these features are present here.
       3. The test used to determine whether a “fine” is “excessive” under the
 Excessive Fines Clause only reinforces the conclusion that the excise tax is not
 “punishment.” A fine is not excessive if the “amount of the [fine] bear[s] some
 relationship to the gravity of the offense that it is designed to punish,” an inquiry that
 requires a court to “compare the amount of the [fine] to the gravity of the defendant’s
 offense.” Bajakajian, 524 U.S. at 334, 336–37 (emphasis added). That question has no
 bearing here given the lack of any “offense” or any “design[] to punish.” Id. at 334.
       Plaintiff nonetheless argues that “it goes without saying” that the excise tax is
 “grossly disproportionate” because the excise tax punishes “totally innocent conduct.”
 Pl.’s Br. at 38; see also Compl. ¶ 70 (alleging tax does not punish “misconduct at all, let
 alone an ‘offense’”). That is precisely the point: because the tax is not triggered by the
 commission of any offense—reprehensible or otherwise—it is not “punishment for

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 some offense” and therefore is not a “fine” under the Excessive Fines Clause.
 Embracing Plaintiff’s argument would lead to absurd results: most taxes would be
 unconstitutionally disproportionate because they are assessed following innocuous
 conduct like working or shopping. That would stretch the Eighth Amendment, which
 merely “limit[s] the government’s power to punish,” beyond recognition. Austin, 509
 U.S. at 609.
        4. If the Court were to reach the excessiveness inquiry, the excise tax would not
 be a “grossly disproportionate” fine. First, “strict proportionality” is not required; a
 fine is constitutional unless it is grossly disproportional to the offense. Bajakajian, 524
 U.S. at 336 (adopting “standard of gross disproportionality articulated in” “Cruel and
 Unusual Punishments Clause precedents”). Second, that inquiry requires “substantial
 deference” to Congress. Solem v. Helm, 463 U.S. 277, 290 (1983); Bajakajian, 524 U.S. at
 336 (“judgments about the appropriate punishment for an offense belong in the first
 instance to the legislature”).      Because “Congress is a representative body, its
 pronouncements regarding the appropriate range of fines for a crime represent the
 collective opinion of the American people as to what is and is not excessive.” United
 States v. 817 N.E. 29th Dr., 175 F.3d 1304, 1309 (11th Cir. 1999).            “Given that
 excessiveness is a highly subjective judgment, the courts should be hesitant to substitute
 their opinion for that of the people.” Id. There is thus a “strong presumption” that a
 fine “within the range of fines prescribed by Congress . . . is constitutional.” Id. That
 is especially so in the tax context, where “the appropriate level or rate of taxation is
 essentially a matter for legislative, and not judicial, resolution.” Commonwealth Edison Co.
 v. Montana, 453 U.S. 609, 627 (1981).

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        Plaintiff fails to overcome the “strong presumption” of constitutionality here, as
 the Bajakajian factors make clear. First, unlike in Bajakajian, where the defendant who
 failed to report the cash in his possession did “not fit into the class of persons for whom
 the statute was principally designed” because he was not a “money launderer, a drug
 trafficker, or a tax evader,” 524 U.S. at 338, any “manufacturer” “of any designated
 drug” against whom the excise tax is assessed is an entity for which that statute was
 designed—a point Plaintiff does not contest. 26 U.S.C. § 5000D(a). Second, while the
 “[f]ailure to report” currency “caused no loss to the public fisc” in Bajakajian, 524 U.S.
 at 339 (government “deprived only of . . . information”), here the fisc will likely incur
 significant losses, and seniors will likely face substantially higher costs, if a manufacturer
 that chooses to continue participating in Medicare declines to agree to a maximum fair
 price and sells that drug to Medicare at a higher price than the statutory ceiling. Third,
 unlike in Bajakajian, where there was “no inherent proportionality” in requiring
 forfeiture of the full amount of undisclosed cash, see id., the excise tax is proportional
 to the harm to the fisc: where a manufacturer of a designated drug has refused to fully
 participate in the Negotiation Program, the more it sells its drug to Medicare
 (presumably at a price higher than that which the manufacturer could have agreed to as
 a “maximum fair price”), the greater the loss to the public and the higher the tax liability.
 See 26 U.S.C.§ 5000D(b); IRS Notice at 3. Indeed, because the tax attaches only to sales
 of the drug that are reimbursed by Medicare, the tax necessarily recoups only a portion
 of the outlays that the Medicare program or Medicare beneficiaries have paid for the
 drug. And, where the tax is not separately invoiced, the ratio of the tax to the amount
 charged by the manufacturer—between 65% and 95%—is within the range of

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 constitutionally permissible exactions. See, e.g., United States v. Alt, 83 F.3d 779, 784 (6th
 Cir. 1996) (81% civil fraud penalty). 14
        Accordingly, even if Plaintiff had sued the proper defendant and even if the AIA
 and DJA did not preclude jurisdiction, Plaintiff’s Eighth Amendment claim would fail
 on the merits because the excise tax is neither a fine nor a grossly disproportionate one.
                                      CONCLUSION

        For these reasons, Plaintiff’s pre-enforcement challenge to the excise tax should
 be dismissed for lack of subject-matter jurisdiction, and the Court should deny
 Plaintiff’s motion for summary judgment and grant Defendants’ cross-motion on all
 other claims.




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     Selected drugs, by definition, have been on the market without competition for a
 minimum of seven years. 42 U.S.C. § 1320f-1(e). Outside experts project that each of
 the manufacturers of the selected drugs have recouped their fixed-cost investments in
 those drugs during this time period, long in advance of the drug’s selection for
 negotiation. See Richard G. Frank & Caitlin Rowley, Medicare Negotiations Won’t Keep Big
 Pharma from Making a Fortune, Bloomberg Law (Sept. 5, 2023),
 https://www.bloomberg.com/opinion/articles/2023-09-05/medicare-negotiations-
 won-t-keep-big-pharma-from-making-a-fortune; see also Kiu Tay-Teo et al., Comparison
 of Sales Income and Research and Development Costs for FDA-Approved Cancer Drugs Sold by
 Originator Drug Companies, 2019 JAMA Network Open 186875 (2019). And, once a
 manufacturer has recouped its fixed costs, its marginal cost of producing small-
 molecule drugs is generally “just pennies per pill.” CBO, Prescription Drugs: Spending,
 Uses, and Prices 20 (2022), https://perma.cc/27R2-3SN4. Some manufacturers
 accordingly may find it to be in their business interest to continue to make Medicare-
 reimbursable sales of their selected drugs and to pay a portion of that Medicare
 reimbursement back in the form of the excise tax. Contra Pl.’s Br. at 37 (Novartis “could
 not possibly pay” “ruinous” tax).

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 Dated: January 12, 2024            Respectfully submitted,

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